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UNITED STATES BANKRUPTCY COURT
SOUTHERN DlSTRICT OF FLORIDA '" ” `V

www.flsb.uscourts.gov

ln re: Case No. 18-22930-LMI §
Mariela C. Roman Chapter 7 '

Deblior /

`, l
. . ».,_i ,. .

DEBTOR’S NOT|CE OF COMPL|ANCE W|TH REQU|REMENTS FCR AMEND|N
CRED|TOR |NFORMAT|ON

This notice is being filed in accordance with Local Rules 1007-2(B), 1009~1(D), or 1019-1(B) upon the filing fan amendment
to the debtor’s |ists, schedules or statements, pursuant to Bankruptcy Rules 1007, 1009, 1019 or 5010-1(8). l certify that:

[ ] The paper filed adds creditor(s) as reflected on the attached list (include name and address of e ch creditor being
added). lhave'.

1. remitted the required fee (unless the paper is a Bankruptcy Rule 1019(5) report);
2. provided the court with a supplemental matrix g_f_Q_n,th;h_e_ad_d_ed_Qr_edm on a CD o memory stick in
electronic text format (ASCll or MS-DOS text), or electronically uploaded the added creditor in CM/ECF;

3. provided notice to affected parties, including service of a copy of this notice and
a copy of the §341 or post conversion meeting notice [see Local Rule 1009-1(D)(2)] and fi ed a certificate of
service in compliance with the court [see Local Rule 2002-1(F)];

41 filed an amended schedule(s) and summary of schedules; and

5. filed a motion to reopen accompanied by the required filing fee (if adding creditors pursua t to Local Rule
5010-1(B)). '

[ ] The paper filed dg|gm§ a creditor(s) as reflected on the attached list (include name and address f each
creditor being deleted). l have:
1. remitted the required fee;
2. provided notice to affected parties and filed a certificate of service in compliance with the courf [see
Local Rule 2002-1(F)]; and
3. filed an amended schedule(s) and summary of schedules
[ ] The paper filed mm the name and/or address of a creditor(s) as reflected on the attached lis . l have:
1. provided notice to affected parties, including service of a copy of this notice and a copy of
the §341 or post conversion meeting notice [see Local Rule 1009-1(D)(2)] and filed a certifica e of service
in compliance with the court [see Local Rule 2002-1(F)]', and
2. filed an amended schedule(s) or other paper.

[ ] The paper filed was schedule D or E/F amount(s) or classification(s). l have:
1. remitted the required fee;
2. provided notice to affected parties and filed a certificate of service in compliance with the court [see Local
Rule 2002-1(F)l; and
3. filed an amended schedule(s) and summary of schedules

[W None of the above apply. The paper filed does not require an additional fee, a supplemental matrx, or notice to
affected parties. lt;n cloes m does not require the filing of an amended schedule and summary of sch dules.

| also certify that, if filing amended schedules, Bankruptcy Form 106 “Declaration About an individual Debt r’s Schedules"

(signed by both debtors) or Bankruptcy Form 202 , “Dec|aration Under Penalty of Perjury for Non-lndividu l Debtors" has
been filed asrequired by LocalRules1007-2(B), 1009-1(A)(2) and (D)(1), or 1019-1(B).

  
  

 

 

 

 

 

 

Dated: l
y for Debtor (dr De tor. if lbro §e) Joint Debtor (if applicable)
riglq <’. wlcio

Print'Name` ' Address

Florida Bar Number Phone Number

LF-4 (rcv. lZ/Ol/i$)

 

 

 

 

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18-22930-LMI Mariela C. Roman
Case type: bk Chapter: 7 Asset: No Vol: v Judge: Laurel M Isicoff
Date filed: 10/18/2018 Date of last filing: 11/06/2018

Creditors

Ally Fina.ucial E‘;-'$t'@;' 2 5 2315
P.0. Box '9001951 ~ " ,
Louisville, KY 40290-1951

fAmex
World Financial Center
New York, NY 101235

 

Bank of America MBNA
400 Christiana Rd.
Neward, DE 19713

Barclays Bank Delaware
1007 Orange Street
Wilmington, DE 19801

/ Blue Trust Capital LLC
7201 Corporate Center Drive, #310
Miami, FL 33126

First National Credit
P.O. Box 5186
Sioux Falls, SD 57117-5186

GEMB/JCP
P.O. Box 984100
El Paso, TX 79998

 

 

CaSe 18-22930-L|\/|| DOC 26 Filed 11/26/18

GMAC Mortgage LLC
7 Carnegi Plaza
Cherry Hill, NJ 08003

Macy's
7 West 7 Street
Cincinnati, OH 45202

Mercedes~Benz
600 Embassy Row
Atlanta, FA 30328

Nationstar Mortgage/Mr. Cooper
8590 Cypress Waters Blvd.
Coppell, TX 75019

0cwen Loan Servicing
1675 Palm Beach Lakes Blvd., Suite 304
West Palm Beach, FL 33401

Old Navy
2 Folsom Street
San Francisco, CA 94104

Partners for Payment Relief De 11 ..»::::>
3748 West Chester Pike
Newtown Square, PA 19073

Sears
13200 Smith Road
Cleveland, OH 44130

\, Select Portfolio Servicing

3815 S.W. Temple St.
Salt Lake City, UT 84115-4412

` s SYNCB/GAP

P.O. Box 29116
Shawnee Mission, KS 66201

U.S. Bank National Association
425 Walnut Street
Cincinatti, OH 45202

Walmart/MBGA
P.O. Box 103027
Roswell, FA 30076

Wells Fargo Financial
1200 N. West Avenue
Sioux Falls, SD 57104-1314

2 _____

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CaSe 18-22930-L|\/|| DOC 26

' WFNNB/Victoria's Secret
P.O. Box 182128
Columbus, OH 43218

World Omni Financial
12755 Olive Boulevard, #20
St. Louis, MO 63141

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Fii| in this information to identify your case:

' Debtort l "-;(9' C

First Name Midd|e Neme

    
  

’<)imo

Last Name

Debtor 2
(Spouse. it lillng) Fir\t Name Mvaie Name Lul Nome

U“i*ed S!ates Bankruptcy conn for insighng District of;\ 01"? C_b
Casenumber `3 " S-D`qSO - \__\~»\I ,,. ~-

(if known)

 

 

Officiai Form 1068um _
Summary of Your Assets and Liabilities and C,

 

. ain Statistical lnformati¢m 12/15

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct

lnfomlatlon. Fl|i out all of your schedules flrst; then complete the lnfonnatlon on this fonn. lf you are filing amended schedules
your original fonns, you must fll| out a new Summary and check the box at the top of this page.

mummarlze Your Aissets

` ¥our nies
§ Vaiue of

hat you own
§ 1. Schedule A/B.~ Pmpeny (ollicial Form losA/B) C -'
` la. copy line 55. Totai real estatey from schedule A/B .......................................................................................................... $ _K@_»_j(l?_
§ 1b. Copy line 62, Totai personal property, from Schedule A/B ............................................................................................... $ _ . 5 100

after you flle

  

s El check if this is an
amended hiing

l
1
l
l
i
l
l

a

 

 

1c. Copy line 63, Totai of ali Property On Schedule A/B ......................................................................................................... 533 Q 3 fig ;'

 

 

 

m Summarlze Your Lllblllt|os

¥our liab

§ 2. Schedule D: Creditors Who Have Claims Secured by Propen‘y (thcial Form 106D)
‘ 2a. Copy the total you listed in Coiumn A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............ $ __

§ 3. Schedule E/F.‘ Creditors Who Have Unsecured Claims (Oflicia| Form 106E/F) § '> |(D .'
’ $ _ -> » z

3a Copy the total claims from Part 1 (priority unsecured claims) from line 6a of Schedule E/F ............................................

3b. Copy the total claims from Part 2 (nonprion'ty unsecured claims) from line 6j of Schedule E/F ....................................... + $ H al §§ `[OC| ,

liltles

Amount you owe

 

l

 

§ your total liabilities sta_:)&?% 134

!

 

 

Summarlze Your lnli:ome and Expensos

1 4. Schedule l.' your income (Offlciall Form 106|) ( 50
Copy your combined monthly income from line 12 of Schedule l .......................................................................................... 5 -&D_--:r_

5 5. Schedule J.' Your Expenses (Ofiiciai Form 106J)

Copy your monthly expenses from line 220 of Schedule J .................................................................................................... $ __,A__

Ofticia| Form 1OGSum Summary of Your Assets and Llab||lt|es and Cenaln Statlstlca| information page 1 of 2

 

 

 

 

 

 

 

 

 

 

 

 

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mm°lmdonshr“mlnlsmtlnandwsls¢ledm

 

6. Are you filing for bankruptcy under Chsptsrs 7, 11, or 137

l
i
‘ n No. You have nothing to leport on this part of the form. Check this box and submit this form to the court with your other schedules

BYes

 

7. What klnd of debt do you halve?

Your debts are primarily consumer debts. Consumer debts are those “incuned by an individual primarily for a pele,
§ family, or household purpose.' 11 U.S.C. § 101(8). Fili out lines 8-99 for statistical purposes. 28 U.S.C. § 159.

n Your debts are not primarily consumer debts You have nothing to report on this part of the form. Chock this box and submit
this form to the court with your other schedules.

 

 

8. From the Statement of your Cun'ent lentth Income: Copy your total current monthly income from Olticial , L(U
Foim122A-1 Line 11; oR, Funn 1223 Line11;oR,Fonn1220-1 une14. , CQSO <

 

 

 

 

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/E

Tota| claim

l From Part 4 on Schedule lE/F, copy the following:

Qa. Domesllc support obligations (Copy line 6a.) $_____L___

gc
9b. Taxes and certain other debts you owe the govemment. (Copy line 6b.) $.____B`.hé§_~z_).[')_'(£
9c. Claims for death or personal injury while you were intoxicated (Copy line 6c.) $__Q*

9d. student loens. (copy line sr.) s___@____

9c. Obllgations arising out of a separation agreement or divorce that you did not report as s § é
priority dalms. (Copy line Bg.)

9f. Debls to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) '*' $ Q
9g. Totsl. Add lines 98 through 9f. s § ¢,5 § 5 g 1 63 "

 

 

 

 

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Fl|| m this liii<)rm.itlt)l) to irlt‘iltiiy your l:n:»t." find this fililltl.

nw \:.l<,.zr\`€l@ §~.., i§..<>te~i

DebtorZ
(Spouse iffting) immune guam

united stereo senluupto/ court lor nw Dietrict arm
Casenumber \g `<;'S-qlzo" L. HI

 

El cheek if this is en
amended filing

 

 

 

Ofncial Form 106AlB
Schedule Al :: Property lens

in each category, separately list and describe items. Llst an asset only once. if an asset lite in more than one category list the asset in the
category where you think lt fits best. Be as complete and accurate as possibie. if two married people are filing togatt\j, both are equally
responsible for supplying correct information. if more space is needed, attach a separate sheet to this form. on the to of any additional pages,
write your name and case numlber (if known). Answer every question.

 

 

 

Part 1: Deecdbe£achlmMence,lulHlng,Land,wmledEehte¥w°wnwthve-nlnhmtln

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

Cl No. co to Pert 2.
n Yes. Where is the property?
Whatistheproperty?Cmdtellthatapply. D°n°tdedud ad li or |. _Pm

a Single-famiiy home the amount of any secured claims on Schedule D:
n Dup‘ex°rmum_un.nbu“ding CreditorslMloH CiainlsSeanedbmepeny.

 

1.1. 385(9§&)\). `15'“\ Q\-

Street address. if avalabie. or other description

 

 

 

Cl Condeminium or cooperative current value or he current value or tile
El lvlenureoluwo or mobile home entire prop¢rfy?° ,,;odion you own?
g La“° s 50’-1 ‘-\"i
- o . - investment property
H\O\Y\ \ 'F\O\`\dl 55\?5 Descrlbe the n re of our ownershl
a Tlrneshare y p
City State ZlPCode a other interest (such fee simpie, tenancy by

 

the entireties, or a life estate), if known.
Who has an interest in the property? Checit one. l

"DO©C l Debtorl only

C°umy a Debtor 2 only
n chwa and Debtor 2 only n Check if this s community property

a At least one of the debtors and another (369 lnSUUCU S)

Other information you wish to add about this itsm, such as local
property identification number:

 

 

lf you own or have more than one. list here:
What is the property? Cheoit ali that apply.

 

 

 

 

 

 

 

a Do not deduct claims or exemptions Put
c Single-famiiy home the en\ount of any claims on Schedule D:
1,7_ \\B(Oz> gm .-\L\ Q‘\` n Dup‘exormum_unnbu“ding CreditorsWhoHa CiaimsSeouredbyFreperty
Streetaddress.ifavalabie,orotherdesoription ' _
a C°"d°m'"'"m °' °°°P°'a""° Current value of Cun'ent value of the
a Manufactured or mobile home BUUN PNPQITY? O, portion you Wh?
l
g Land $ 3531_ 53
0 *-"" ' investment properly
H?G`N\\ iv b\'\dq 53\‘]5 n .nmesham Describe the nat re of your ownership
City Slate ZlP Code interest (euch as fee slmpie, tenancy by
n Oth°" the entireties, or life estate), if known.
Who has an interest in the property? Chedt one.
`Dcd€ . Debtorl only
C°umy El Debtor 2 only `
n Debt°H and Debtor 2 only n Check if this its community property

a At least one of the debtors and another (869 inSfNC¢ioii\S)

Other information you wish to add about this ltem, such as local
property identification number:

 

 

0elrtor1 F\;(NQMF’}€\G C .

CB.S€ 18-22930-Ll\/|l
Powtcm
LMNIM

Midrle items

3_3_ Make: C_;hiz$\ef
Model: _-\_CM!U\ b- §§L)\A‘\’i>/
Yean H¥Q_F>_

3.4.

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehiclee, and accessories
Examples: Boats, trailers, mot<)rs, personal watercraft, fishing vesseis, snowmobiles, motorcycle accessories

ig&db

Approximate mileage:
Other infomlation:

 

 

 

 

Make:

Modei:

Year:

Approximate mileage: _
Other infon'nation:

 

 

 

 

m No

cl Yes

4.1. Make: ____
Modei: ______
Year:
Otherinfon'nation:

 

 

 

 

if you own or have more than cne. list here:

4.2.

5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
you have attached for Part 2. Write that number here

Make:
Modei:
Year:

Other information:

 

 

 

 

Who has an interest in the property? Check one.

5 Debtor1 only

Cl Debtor 2 only

El Debtor1endoeotor2only

n At least one of the debtors and another

cl Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

Cl Debtor1 only

El Debtor 2 only

Cl Debtor1and Debtorz only

cl At least one of the debtors and another

El check lr title re community property (see
instructions)

Who has an interest in the property? Check one.
El Debtor1 only

n Debtor 2 only

Cl Debtor1 and Debtor 2 only

cl At least one ofthe debtors and another

cl Check lf this is community property (see
instructions)

Who has an interest in the property? Check one.
El Debtor1 only

El Debtor 2 only

n Debtor1 and Debtor 2 only

m At least one of the debtors and another

cl Check lf this is community property (see
instructions)

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Casenumber(rrlumrn \X ‘-S"B'

Donotdeductsecu'
theamountofanys-
CredtorsWhoHa

Current value of
entire property?
6

s HOS

950~LH1

eddalmsorexemptlons.Put
meddaimson$dleduleD:
Clal'rnsSecuredbyProperty.

 

Current value ofthe
portionyou own?

Current value of the Current value of the

entire property?

portion you own?

Donotdedudsecuneddalmsorexemptions.Put
theanmrtofanystlcureddalmson$dleduleD:

CreditorsWhoHave

Claims Secured by Property.

Current value of the Current value of the

entire Prol>¢rty?

portion you own?

Donotdeductsec\lleddalmsorexemptions. Put
theamountofanystlcl.lreddelmsonscheduleD:

CreditorleoHeve

Current value of the Current value of the
portion you own?

entire property?

 

 

 

 

 

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D°bi°fi M_Q__EQ_UQL)_____ Casenumbertrhmr)\g".a`é'qz© ' LHI

1
FlMNIrle Mlddehisme LestN-rle

 

 

 

 

 

 

 

 

 

Wh¢fi$ui¢pf°|’¢"¥?€h°°ka"mafapp|¥- Donotdeductsecweddalmaorexemptions.Put
»- theamountotanystecureddalmson$chedl.lleD:
1.3. Q~E>L\ \~)E 5‘>‘\' g \\0_' 0 Si"g'°`fam"yh°'“° creditorewhol-/ove ciermsseourodbyProperty.
street eddreee, tr available or other deeoripdon Cl ouplex or multi-unit building
a C°ndominium or cooperative Current value of the Current value of the
m Man md or mob"e entire property? co portion you own?
g md s 350: S(I) t
\*\°: M°\ *?""-Cf\dz 55\)3>. cl lnveslmentproperty _
my \ S,aw Z|p C°de m mmst Descnbe the nat re of your ownership
interest (such a fee simple, tenancy by
n Other the entiretlee, or a lite estate), li known.
Who has an interest in the property? Check one.
Md\€- . Debtor 1 only
C°"my El Debtor 2 only
El oeotort end Debtor 2 only Cl Check innis is community property
cl At least one of the debtors and another (See 'nstmco°"s)
other information you wish to add about this item, such as local
property identification number:
2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages s g 27 aq( co
you have attached for Part 1. Write that number here. ............................................................................ . ......... ')

 

Part 2; Descr'lbe Your Vtahlcles

 

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? include any vlicles
you own that someone else drives. if you lease a vehicie, also report it on Schedule G: Executory Contraci‘s and Unexpl'red Lea s.

 

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

   
 

 

 

 

 

 

 

n No
a Yes
3_1_ Make: `A() Who has an interest in the property? Check one. 00 not wm dm or °x,mm_ pm
.,.` -Debt°non|y theamountofany claimsonScheduieD:
Modei: _ n Creditors Who He Claims Secured by Properiy.
Debtor 2 only ~
Yeai'- w cl Debtor 1 and Debtor 2 only Current value of Current value of the
. . _ ‘ enti perty? portion own?
App"°”mate m"°ag°- -ZQ)W n At least one of the debtors and another m pro you
Other infonnation:
0 Check if this is community property (see 5 6 : g s
instructions)
if you own or have more than ctne, describe here:
3_2_ Make: ':KQYQ Whe has an interest in the property? Check one. D° mt dean way °m_ put
t .;' thealnountofany `rrlsonSclleduieD:
Modei: §" FC>LOV\ vlC'blih. D°b°°" °"'V creditors who clolrns sewredbyProperty.
3 0 Debtor 2 only -
YQBF- __O.;_ 0 l l Current value of he Current value of the
n 1 and Debtor 2 only entire property? portion you own?
APP"°Ximat° mileage: _W n At least one of the debtors and another 1
Other infonnation: 30 Y` s

0 Check if this is community property (see s
instructions)

 

 

 

 

 

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Debtor1 \F:GN'MV`\€BO C` SSMWG\) Casenumber(lrlmm) ig ' B'D'q 30 '_ LHI

Mldr|e Name

part 3: Describe Your Ferllonel and llouseho|d ltems

 

 

 

 

Do you own or have any legal ol' equitable interest in any of the following items? myv:|zu:w°:`:'°
Do not deduct secumd claims
(I` QXGMWIS.
6. Household goods and fumis|hlngs
Examples: Major appliances, fumiture, iinens, china, kitchenware
g No 1 ..W.,_.. § 5 02
Yes. Describe ......... i v \ _ i ( 1 )
i_;_-iZQ\to`t|€, ~ Per‘r\'r <J; § C,txi$\»ter ibi/yet C\ \t\ CrO\UQ\/c z $__'__
7. Electronlcs

Examples: Televisions and radios; audio, video, ster'eo, and digital equipment; computers, printers, scenners; music
collections; electronic devices including cell phones, cameras, media players, games

DNo

cb
3 es. es .......... t , .§ `
Y D mbe L\ '-Y‘\Q’r SQreQ\/\S T\/; CO\l/ir;o ‘Y€<' 5 00

8. Collectibles of value

Examples: Antiques and tigun'rles; paintings, printsl or other artwork; books, pictures, or other art objects;
stamp, coin, or baseball card collections; other coilections, memorabilia, collectib|es
a No

Ci Yes. Deson'be .......... s

 

 

 

 

 

 

 

 

9. Equipment for sports and ho|bbles

Examples: Sports, photographic exercise, and other hobby equipment; bicycles, pool iables, golf ciubs, skis; canoes
and kayaks; carpentry tools; musical instruments

Ci No
0 Yes. Describe .......... s

 

 

 

 

10.Flreanns
Examples: Pistols, rilies, shotgiuns, ammunition, and related equipment
m No
Ci Yee. Deeoribe .......... t 3

 

 

 

 

 

11. Clothes
Examples: Everyday ciothes, fllrs, leather coats, designer wear, shoes, accessories

n No
m Yes. Descn`be .......... C\O_\_M end § S\`O e g $

tz.lewelry

Examples: Everyday jewelry, costume jewelry. engagement rings. wedding rings, heir|oom jewelry. watches, gems,
gold, silver

 

t

 

 

 

Ci No
El Yes. Deeoribe .......... 5

 

 

 

 

13. Non-fann animals
Examples: Dogs, cets, birds, horses

n No
Cl Yes. Desoribe .......... s

 

 

 

 

14.Any other personal and household items you did not already list, including any health aids you did not list

 

 

 

 

n NO m
§ Yes. Give specific _,._. ` \ 000 “
infonnation. ............. T'O\' \A\*'\) i"€ § Umw\ Se* s
15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached $ at ( Xz; aaa

for Part 3. Write that number here 9

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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DebiOH `Ce ML) Case number tirirnown) \Z - D'Bq ' w d \"\"i:
First Mlddie Name Last Name
mbeecribe Your Flnanclal Assets
Do you own _or have any legal or equitable interest in a`ny of the foilowing? Current value of the
i b ’ portion you own?
Do not deduct secured claims
or exempt lons.
16. Cash
Examples: Money you have in your wailet, in your home, in a safe deposit box, and on hand when you file your petition
a No
n Yes .............................................................................. Cash _____________________ $
17. Deposits of money
Examples: Checking, savings, or other financial accounts; certificates of deposii; shares in credit unions, brokerage houses,
and other similar institutions if you have multiple accounts with the same institution, list each.
m No
cl Yes ..................... institution namet
17.1. Checking account $
17.2. Checking account $
17.3. Savirlgs account $
17.4. Savirlgs account $
17,5. Celtiiicates of deposit $
" 17.6. Othel' financial account: $
k 17.7. Other financial account: $
17.8. Other financial account $
17.9. Other financial account $
18. Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage finns, money market accounts
a No
n Yes ................. institution l:)r issuer name:
$
. 19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
an LLC. partnership, and joint venture
m No Name oi entity: % of ownership:
cl Yes. Give specific O°/o % $
information about Oo/
them ......................... ° % . ___
0% % t

 

\..»

Ofl'lcial Form 106A/B Schedule AIB: Property

 

 

 

 

 

 

 

 

 

 

 

CaS€ 18-22930-L|\/||

W ¥efif\s..£ ¢§s.ii£®

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Casenumberiirimm) \%_ 39£

 

20. Govemment and corporate bonds and other negotiable and non-negotiable instruments

Negotiable instruments inciude personal checks. cashiers' checks. promissory notes. and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivean them.

l No
n Yes. Give specihc

information about
them .......................

issuer name:

 

 

 

21. Retirement or pension accounts

Examples: interests in iRA, ER|SA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

lNo

El Yes. Lisieach
account separately Type of account

401 (k;l or similar plan:

institution name:

 

Pensii>n plan:

 

lRA:

 

Retirement account

 

Keogti:

 

Additionai account

 

Add|tionai account

 

22.Securlty deposits and prepayments

Your share of ali unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with iaridiords, prepaid rent, public utilities (eiectric, gas, water), telecommunications

companies, or others

* No
n Yes ..........................

Eiectn`c:

instian name or individual:

 

Gas:

 

Heatirig oil:

 

Security deposit on rental unit

 

Priepa|d rent:

 

Telepi~ione:

 

Water:

 

Rented fumiture:

 

Other:

 

23.Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

inc
DYes ..........................

lssueir name and description:

350 -.Lii:

“““““““

“““““““““

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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\ ' _ (7 ` _
Debf0r1 W\ Q\Q C' QO\MQ g Case number iiiimown) \X 93"1 ?>() \_\“(I
Fnt Name Middie Name Lat Name
f interests in an education iRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
t ` 26 U.S.C. §§ 530(b)(1). 529A(b), and 529(b)(1).
No
n Yes """"""""""""""""""" institution name and description. Separateiy file the records of any interests.11 U.S.C. § 521(c):
$_.___
` 25.Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
exercisable for your benefit
a No ' _M v
n Yes. Give specific
information about them.... $+
- - z
26. Patents, copyrights, trademarks, trade secrets. and other intellectual property t ,
Examples: intemet domain names, websites. proceeds from royalties and licensing agreements _ '
a No
n Yes. Give specific
information about them.... $_
27. Licenses, franchises, and other general intangibles
Examples: Bui|ding permits, exclusive licenses, cooperative association hoidings, liquor licenses, professional licenses
a No W ~_ M
cl Yes. Give specific _
( information about them.... } $____
'; Money or property owed to you? Curre t value of the

portio you own?
Do not educt secured
claims exemptions

, 28.Tax refunds owed to you

@No

n Yes. Give specific information
about theml including whether
you already filed the returns Siaie;
and the tax years. .......................

 

Federai;

 

Loca|:

 

 

29. Family support
Examples: Past due or lump sum aiimony, spousal suppori, child suppori, maintenance, divorce settlementl property settlement

-No

n Yes. Give specific information ..............
A|imony:

 

Maintenance:

 

Suppori:

Divorce settlement

 

|m i’q i“ i“ i“

 

§ Property settlement

 

30. Other amounts someone owes yi)u
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
Sociai Securify benefits; unpaid loans you made to someone else

‘ .. a N° . .. h .. . .. ;

v' n Yes. Give specific information ............... §

 

 

Officia| Form 106A/B Schedule Ale Property page 7

 

CaS€ 18-22930-L|\/||

\`ioririq C` L“Q&\iio'ib

Fint Nlne Midde Name

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Case number(riqmm \B“ &S`Ci

Debtori

31. interests in insurance policies
Examples: Health, disability, or life insurance; health savings amount (HSA); credit, homeowner's, or renter's insurance

mNo

Cl Yes. Name the insurance company

_ _ , Company name:
of each policy and list its value.

Beneiciary:

 

32. Any interest in property that ls due you from someone who has died

lf you are the beneficiary of a living tiust, expect proceeds from a life insurance policy, or are cunentiy entitled to receive
property because someone hair died.

aNo

50 ~\_ii:

 

Cl Yes. Give specific information ..............

 

 

 

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Aocidents, employment disputes, insurance ciaims, or rights to sue

ENo

 

Cl Yes. Describe each claim. ....................

 

 

 

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
to set off claims

-No

 

Cl Yes. Describe each ciaim. ....................

 

 

 

35.Any financial assets you did i'iot already list

 

a No
n Yes. Give speciiic information ............

 

 

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
for Part 4. Write that number here

 

part 5:

 

DescrlbelnyBuslneso-Relatedl*roperty¥ou°wner|hveanlntierestln.t.lstanyreeleshtie|nl*artt.

 

31. Do you own or have any legaii or equitable interest in any business-related property?
m No. Go to Part 6.
Cl Yes. Go to line 38.

38.Accounts receivable or commissions you already earned

.No

 

n Yes. Describe .......

 

Current value of the

portionyouown?

 

39. office equipment1 fumlshingil, and supplies
Examples: Buslness-re|ated oomputers, software. modems, printers, oopiers, fax machines, n.igs, telephones, desks, chairs, electronic devices

.No

 

Cl Yes. oesoribe .......

 

 

 

 

ass

 

 

 

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Debt0f1 \F;'&"§\eh C/~ €.*QMY\G‘\~) Casenumberiimmn) \g _ 99

MiddeNarne

40. Machlnery, fixtures, equipment supplies you use in business, and tools of your trade
m No

 

m Yes. Describe .......

 

 

41. inventory

 

No
m Yes. Describe .......

 

 

42. interests in partnerships or joint ventures

 

 

a No

D Yes. Desc¢ibe ....... Name (,fenmy: % orewnership:
%
%
%

 

43. Customer lists, mailing llsts, or other compilations
m No
m Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(4tA))?

UNo

M

 

m Yes. Desciibe.

 

44.Any business-related property you did not already list
n No

m Yes. Give specific
information .........

 

 

 

 

 

 

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
ror Pan 5. wriw that number here -)

Descrtbe Any Fann- and commercial Fishlng-Re|ated Property You own or tim an interest In.
if you own or have an interest in fanniand, list it in Part 1.

““““M“

 

|"

 

46. Do you own or have any legail or equitable interest in any farm- or commercial fishing-related property?
i No. co to Pan 7.
El Yes. co co line 47.

Current value of the
portion you own?

Donotdeductsecureddaims

 

47. Farm animals
Examples: Livestock, poultry, farm-raised isn

.No

or exemptions

 

a Yes ..........................

 

 

 

 

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Case number iirkncwni \ g s S'D'q EDC

Case 18-22930-L|\{||
C-. RO\i\/ioio

Lasi Name

Hor'\€\<)i

First Name Middie Name

Debtor 1

(H\Crops-either growing or harvested

gNo

n Yes. Give specific
infonnation. ............

 

 

 

' 49.Farm and fishing equipment, implemenfs, machinery, fixtures, and tools of trade
No
n Yes ..........................

 

 

50.Fann and fishing supplies, chemic;a|s, and feed

m No
n Yes ..........................

 

 

 

 

51.Any farm- and commercial fishing-related property you did not already list
21 No

n Yes. Give specific
information. ............

 

 

 

 

>_\-\\i'l

 

‘ 52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
for Part 6. Write that number here .................................................................................................................................................... 9

 

 

\

 

 

mescrlbe Ail Property You 0wn or Have an interest in That You Did Not List Above

 

§ 53. Do you have other property of any kind you did not already list?
Examples: Season iickets, country club membership

aNo

n Yes. Give specific
information .............

i

 

 

 

 

 

54.Add the dollar value of all of your entries from Part 7. Write that number here ................................................................. 9

 

 

 

Llst the Totals of Each Part of this Form

 

 

 

1 __ U`D
/. 55.Part 1: Totai real estafe, line 2 ............................................................................................................................................................. 9 $RL_B‘_K@ ‘
l 56. Part 2: Totai vehicles, line 5 $
57.Part 3: Totai personal and household ifems, line 15 $
58. Part 4: Totai financial assets, line 36 $
y 59. Part 5: Totai business-related property, line 45 $
60. Part 62 Totai farm- and fishing-related property. line 52 $
61. Part 7: Totai other property not listedl line 54 + $ o 0
62.Total personal property. Add lines 56 through 61. .................... y $________ Copy personal property total 9 + $__\§_| \ 00 ;
L; co

$3_'_\_

' 63.Total of all property on Schedule AlB. Add line 55 + line 62 ..........................................................................................

 

 

 

Officia| Form 106A/B Schedule A/B: Property

 

 

 

 

 

 

 

 

 

 

 

 

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Fili in this information to identify your case:

Debtor 1 ' 68 a C, " Ma D

Firsi Name Middle Name Laet Name

Debtor 2
(Spou$e, ilfi|in°) Firet Name M'ridle Name La¢t Name

United States Bankruptcy Court for thme\'i/tDisirici of § 505 im
Casenumber §§ >'}q m ‘ ‘-'HI El check if this is an

ir ii `
r nown) amended filing

 

 

 

Officia| Form 1060
Schedule C: The Property You Claim as Exempt 12/15

Be as complete and accurate as p<issible. lf two married people are filing iogeiher, both are equally responsible for supplying correct in orrnation.
Using the property you listed on Schedule A/B.' Property (Ofiicia| Form 106A/B) as your source, list the property that you claim as exem t. lf more
space is needed, fill out and attach to this page as many copies of Part 2.' Addifional Page as necessary. On the top of any additional p ges, write
your name and case number (if kni).wn).

 

 

For each item of property you claim as exempt. you must specify the amount of the exemption you clalm. One way of doing s is to state a
specific dollar amount as exempt Alternatlvely, you may claim the full fair market value of the property being exempted up to he amount
of any applicable statutory limlt. Some exemptions-such as those for health alds, rights to receive certain benefits, and tax empt
retirement funds-may be unlimited in dollar amount However, if you claim an exemption of 100% of fair market value under law that
limits the exemption to a particular dollar amount and the value of the property ls determined to exceed that amount. your ex ption
would be limited to the applicable statutory amount

identify the Property ¥ou Clalm as Exempt

 

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

El You are claiming state and federal nonbankniptcy exemptions. 11 U.S.C. § 522(b)(3)
El You are claiming federal exemptions 11 U.S.C. § 522(b)(2)

2. For any property you listen Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on Current value of the Amount of the exemption you claim Speclfic laws that allow exemption
Schedule A/B that lists this property portion you own

Copy the value from Check only one box for each exemption.
Schedule A/B

iiovii_c rter
Brief § i ge ‘\' 09 m 02
description: 0 ' c $M § $ §___l_(lco <`
» 100% of fair market value, up to
§g:ef<;?r?; A/B: \ any applicable statutory limit _.L)J’>_'C 65 3 0 )

B' f 050 § § OQ

ne ‘ » - __,

descripti°n: §mq)£iw\_\% $M a $ (D 000

Line from \ _ D_ ll i\M€ El 100% of fair market value, up to § C ;-D€g_ C)')
Schedule A/B: __ any applicable statutory limit g . »

06
B"'ef vaicio'vi;~niui/\ $ OtLi=S>O"m \Oil-i(§e© 03

description:

. Cl 100% of fair market value up to (` 3
L f .
821ng A/B: \ ' any applicable statutory limit g ) , g C - 639‘ 0

 

3. Are you claiming a homestead exemption of more than $155,675?
(Subject to adjustment on 4/01/16 and every 3 years after that for cases filed on or after the date of adjustment.)

 

 

El No
a Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
El No
al Yes
Ofiicial Form 1060 Schedule C: The Property You Ciaim as Exempt page 1 of£_

 

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i
i
i
i

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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' 7 QO
Debtor 1 \_/bv\eb <_" we l~> Case number tirimamii \% _ Sé'q "’ 33 ` L` L)T:t
Fusi Name Mlddle Name Last Name
`/‘
mkdditlonal Page
Brief description of the property and line Current value of the Amount of the exemption you claim Speclflc laws that allow exemption
on Schedule A/B that lists this property portion you own
Copy the value from Check only one box for each exemption
Schedule A/B

Brief
description: ____-__ $ a $
Line from Cl 100% affair market value, up ta
Schedule A/B: any applicable statutory limit
Bn`ef
description: 5 a $
Lirie from cl 100% of fair market value, up to
Schedule A/B.' _ any applicable statutory limit
Brief
description: 5 cl $
Line from cl 100% of fair market value, up to
Schedule A/B: __ any applicable statutory limit
Bn`ef
description: $ a $
Line from Cl 100% affair market value, up ta
Schedule A/B_~ any applicable statutory limit
Brief
description: $ cl $
Line from Cl 100% of fair market value, up to
Schedule A/B: _ any applicable statutory limit
Brief
description: $ cl $
Line from El 100% affair market value, up ta
Schedule A/B: '_ any applicable statutory limit
Brief
description: $ cl $
Line from Cl 100% affair market value, up to
Schedule A/B_~ any applicable statutory limit
Brief
description: $ cl $
Line from El 100% affair market value, up ta
Schedule A/B_- ____ any applicable statutory limit
Brief
description: $ a $
Line from a 100% of fair market value, up to
Schedule A/B; __ any applicable statutory limit
Brief
description: $ n $
Line from a 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief '
description: $ n $
Line from a 100% of fair market value, up to
Schedule A/B: _ any applicable statutory limit
Brief
description: $ a $
Line from U 100% of fair market value, up to
Schedule A/B,l __ any applicable statutory limit

Official Form 1060 Schedule C: The Property You Cialm as Exempt ’ page 2_ of g

 

 

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Fi|l in this information to identity your r:;isr~,

oehtori C, 0\/1/\@/0

FistName MlddeNeme LeetN¢ne

Debtor 2
(Spouse, if Nlnq) Fbst Name Midrle Name Last N¢ne

united states Bankruptcy court far tiiazmllpistnct mw
Casenumber \% ‘B"b'qz() ' \»-Mj:

miami El check if this is an
amended filing

 

 

 

 

Oflicial Form 106D
Schedule D: creditors Who l'lave claims Secured by Froperty wis

Be as complete and accurate air possibie. if two married people are filing together, both are equally responsible for supplying correct
iniormatlon. lt more space is nlieded, copy the Additional Page. fill it out, number the entries, and attach it to this form. Qn the top of any
additional pages, write your name and case number (if known).

 

 

 

1. Do any creditors have claims secured by your property?
a No. Check this box and submit this form to the court with your other schedules You have nothing else to report on this forin
n Yes. Fili in all of the information below.

m mail seemed claims

z Llst eli secured ciaims. |f a creditor has more than one secured clalm, list the creditor separately
for each clalm. if more than one creditor has a particular claim, list the other creditors in Part 2.
Ae much as possible. list the claims in alphabetical order according to the creditors name.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

:_’-1-| Descrlbe the property that secures the cialm:
Credllbr's Name
Number Street
As of the date you tile, the claim le: Check all that apply.
m Cont'lngent
Cl unliquidated
city state ziP code cl mspqu
§ Wh° °W» the debt? Check one Nature of iien. cheek aii that eppiy.
m D°b'°l’ioniy m Anegreementyoumade(suchasmortgageorsecured
Cl Debtor 2 only ear ioan)
El Debtor 1 and Debtor 2 only U Statutory lien (such es tex lien, mechanics |ien)
El Ai least one of the debtors end another m Judgment lien from a lawsuit
§ Cl other tinoiutiing a right to offseil
§ El Check if this claim relates to a
community debt
Date debt was incun'ed Last 4 digits of account number___ ______ _____ ___
‘ 2'2 Descrlbe the property that secures the ciaim: $ $ $
Creditor" s Name
Number Street
As of the date you tile, the claim is: Check ali that epply.
m Contingont
Cl unliquidated
city state ziP code g mem
Wh° owes the debt? Check one Nature of iien. cheek oil that appiy.
cl Debtor‘°“\y n Anagreementyoumade(auchasmorl:gageorseoured
m Debtor 2 only car loan)
Cl Debtor 1 ana nom 2 only Ei statutory lien (suoh as tex iien, mechanics iien)
m At least one of the debtors and another n Judgm¢m lien f\’°m 8 |B\I'Bu|\

Ci other (inoiuding a right to arisei)
Cl cheek if this oiairn relates fo a

community debt
Date debt was incurred Last 4 digits of account number __ ____ __

 

Add the dollar value of your entries in Column A on this page. Write that number here: |5

 

 

 

 

CaS€ 18-22930-L|\/||

noel V\One\@ C.

Flr\tNarne \llddehleme

QGMG.L) Case number illth \ % ” 33

i.aetName

 

wichile

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After listing any entries on this page, number them beginning with 2.3, followed

by 2.4, and so forth.

 

 

Descrlbe the property that secures the claim:

 

 

 

Number Street

 

 

 

 

 

C|‘ly Sfald ZlP Code

Whoowesthedebt?Checkone.

El Debtor 1 only

El Debtor 2 only

El oebtor1and Debtor 2 only

El At least one of the debtors and another

n Check if this claim relates to a
community debt

Date kbt was lncurred

As of the date you tile, the claim is: Check di that apply.

El contingent

El unliquidawd

El oleputed

Nature of lion. Check all that app|y.

n An agreement you made (such as mortgage orsocured
car loan)

|Zl sanitary len (euoh eo tex lien, mechanics lieni

El .ludgrnent lien from a lawsuit

El other (inoluding a right to oireei)

l.ast 4 digits of account number____

 

 

Credltol"s Name

Descrlbe the property that secures the claim:

 

 

 

Number Street

 

 

 

 

 

city stale zlP code
Who owes the debt? Check one.

El Debtortonly

El Debtorzonly

l] Debtoriandoehlorzoniy

l] Atleastoneofmedebioreandenather

El cheek il this claim relates to a
community debt

Date debt was incurred

As ofthedate youtile,thec|alm is: Checkd|thatapply.

E| Contlleeni

El unliquidated

|Zl Dlspuied

Nature of llen. cmok ell that apply.

n An agreement you made (such as mortgage orsecured
car loan)

n Statutory lien (such as tax iien, mechanic’s llen)

El .ludgment lien from a lemon

El other (inoludlng a right to otfset)

Last 4 digits of account number___

 

 

 

._J

 

Creditor'sNerne

 

Descrlbe the property that secures the claim:

 

 

 

Number Street

 

 

 

 

 

city slate zlP code

Whoowesthedebt?Checkone.

|Zl oeotor1only

El Debtorzoniy

El Dehtor1and Debtorzonly

El Atleestoneofmedehtoreandanoiher

El cheek if this claim relates to a
community debt

l Date debt was incurred

 

As ofthe date you file, the claim is: Checkallthatappiy.

El contingent

l] unliquidated

|Zl oiepuied

Neture of lien. Check all that apply.

n Anagreementyoumade(sudiesmoitgageorsecured
car loan)

|Zl statutory lien (suoh as tex llen, medunio's lieni

El Judgment lien imm a lawsuit

El other (lnoluding a right to olreet)

Last 4 digits of account number

i Add the dollar value of your entries ln Column A on this page. Write that number here:

g if this is the last page of your fonn, add the dollar value totals from all pages.

Write that number here:

 

 

 

 

 

 

 

 

Debtorl

jr
ENM

CaS€ 18-22930-L|\/||

Makhme

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Vbn@a C,i&wmo

 

 

 

 

Casenumber(limm) \%` 93

U.\°¢IICNQOII¢NMMMIDOMTII¢¢YWMLISM

sethispagaoniyii‘youhaveothenwbenounsdabomyunbankmptcytoradabtd\atyouakeadylhhdin?an1.For
agancyistryingtocoiiecttromyouforadabtyeuowatosomeoneebs,ustdncreditormhn1.anddtenihtdncoihction
youhavemorethanonecreditttrtoranyot'thsdebtsthatyoullstadm?an1.listdnsdditionaicrsditorsinn.iiyoudonot
benotiliedforanydebtslnParii1, donotliiioutorsubmitthispage.

0n which line in Part 1 did you enter thin credited

ABO~LHI

 

,il‘acollection

agancyhers.$imiiariy,li‘
veadditionalpersonsto

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Last 4 digits of account number__ ____ _ ___

Number Street
City Stata ZlP Code

|__| 0n which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number_ ____ ___ __
Number Street
City State ZiP Code

\ l 0n which line in Part 1 did you enter the creditor'i
Name Last 4 digits of account number_____ ___ _ _
Number Street
City Stata ZlP Code

|_| on which line in Pen 1 did you enter md oreditor?
Name Last 4 digits of account number_ __ __ ____
Number Street
city state zlP code

|_, On which i|ne in Part 1 did you enter the creditor?
Name Last 4 digits et account number ___ __ ___
Number Street
City State ZlP Code

_ l

l_l 0n which line in Part 1 did you enterttid crsditor? ___
Name Last 4 digits of account number____ ___ _ ___
Number Street

 

 

C|¢y

ZlP Code

 

mist Ail of Your PRlORiTY Unsecured Claims

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Fili in this information to identify your case:

    

Debtor 1

 

First Name Middis Name Lasl Name

ieblor 2
`Spouse, il filing) Fnl Nern¢ Middie Name Lesl Neme

Uniled States Bankruptcy Courl for tham Dlslrict Of § §Ot`)§ 21

 

Case number \% '* BSQF>O - \_ \-’i:[_ a Check if this is an

rili<nowni amended filing

Offlcial Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims

12/15

Be as complete and accurate as pol;sible. Use Part 1 for creditors with PRlORiTY claims and Part 2 for creditors with NQNPRIOR TY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. A|so list executory contracts on :'>`chedule

A/B: Property (Olticial Form 106AlBi and on Schedule G: Executory Contracts and Unexplred Leases (Oflicia| Form 1066). Do nol
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. lf more spa

include any

.ce is

needed, copy the Part you need, fill it out, number the entries in the boxes on the lett. Attach the Continuation Page to this page. On the top of

any additional pages, write your name and case number (if known).

1. Do any creditors have priority unsecured claims against you?
9 No. co to Part 2.
n Yes.

2. List all of your priority unsecured claims. lf a creditor has more than one priority unsecured claim, list the creditor separately for each claim, For

each claim listed, identify what type of claim'il_ is. |f a claim has both priority and nonpriority amounts, list that claim here and show both
nonpriority amounts. As much as possib|e, list the claims in alphabetical order according to the creditor’s name. lf you have more than t

unsecured claims. till out the Continuation Page of Part 1. |f more than one creditor holds a particular claim, list the other creditors in P rt 3.

(For an explanation of each type ol‘ claim, see the instructions for this form in the instruction booklet.)

   

ote'i:ciei` ' Prioiiw

,arn'ount"

 

 

Last 4 digits of account number _ ___. __ __ $ $

Priorlty Creditor’s Name

 

When was the debt incurred?

 

Number Street

 

As of the date you file, the claim is: Check all that apply.

 

n Conlingent
Cl unliquidated
0 Dispuled

Cily Slate ZlP Code

Who incurred the debt? Check one.
0 Debtor 1 only

i:l Debtor 2 only Type of PRlORiTY unsecured claim:
0 Debtor 1 and Debtor 2 only
0 Al least one cl the debtors and another

0 Taxes and certain other debts you owe the government

l
l
n Domestic support obligations
0 Check if this claim is for a community debt

0 Claims for death or personal injury while you were

 

ls the claim subject to offset? intoxicated
Cl No Cl other specify
0 Yes

 

 

Last 4 digits of account number __ ___ _ ___ $ $
Priorlty Creditor's Name

When was the debt incurred? i

 

 

 

 

Number Street
As of the date you file, the claim is: Check all that apply.
n Conlingenl

city state zlP code Cl Unliquidaled

Who incurred the debt? Check one. cl Disputed

0 Debtorl only

0 Debtor2 only

n Debtor 1 and Debtor 2 only

n At least one cl the debtors and another

Type of PRlORiTY unsecured claim:
0 Domestic support obligations
n Taxes and certain other debts you owe the government

n Clai for death or ersona| in`u while ou were
0 Check if this claim is for a community debt ms p j ry y

 

intoxicated
ls the claim subject to offset? cl Other_ Specify
0 No
Q __,YFS _

priority and
o priority

Nonpriority "
amount

Ofilcia| Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page 1 of l, 5

 

 

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mewa ::h"u;§\ € \O C' OV§AG‘\) Case number (iritiiawn) 41&‘ &D`

Middlc Name Last Name

  

Your NONPR|OR|TV Unsecured Claims - Continuation Page

5@- \..MI

 

  

tfter listing any entries on this page, number them beginning with 4. 4, followed by 4. 5, and so torth.

 

 

 

 

 

 

 

 

 

 

 

"`;%\ K)€'.:-`_L):;>.\.. <TQD"`L\-Q\`\__ \__ C Last 4 digits ot account number ga B_CQ_

Nonpr'iorlty Creditor's Name

 

 

When was the debt incurred? " OO 5
t '\Bo\ CoiOoroi@cl Ce\/t'ier l)r sale E__
' mber Street
As ot the date you file, the claim is: Check all that apply.
itt witt ¥'l 33\><0

city slate zlP code ij Contingent
l § unliquidated

Who incurred the debt? Check one. cl Disputed

8 Debtor 1 only
a Debtor 2 only Type ot NONPR|OR|T¥ unsecured claim:
cl Debtor 1 and Debtor 2 only

n Student loans
n At least one ot the debtors and another

n Obligations arising out ot a separation agreement or divorce that

you did not report as priority claims
cl Debts to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? Cl Other. Specity

a No
cl Yes

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Nonprio Creditor's Name \ .. '
m ab f (AQ(Q)((CIC.\ CB\ASY€ \- \ )‘_ ii\dlllhen was the debt incurred? 0 <}OO(@

Number Street

Cl Check it this claim is for a community debt

 

 

 

HQ\ OW\{) L »F,°'\ Ov\ &O\ 53\ gin As of the date you file, the claim is: Check all that apply
city stale zlP code C] contingent
m Unliquidated
Who incurred the debt? Check one. n Dispuled
Debtor 1 only
z cl Debtor 2 only Type of NONPR|OR|TY unsecured claim;

;' cl Debtor 1 and Debtor 2 only

cl Student loans
n At least one ot the debtors and another

cl Ob|igations arising out ot a separation agreement or divorce that
you did not report as priority claims

 

C]c ir i ‘ isr u't debt
§ heck th s c|alm or a comm m y n Debts to pension or profit-sharing plans, and other similar debts

ls the claim subject to offset? U~ Other. Specify
’; m No
§ n Yes
Ofticial Form 106E/F Schedule ElF: Creditors Who Have Unsecured Claims

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R\ U \ re U<" jt ®O`:G\ \_ \_C Last 4 digits of account number SQ___ 6 §
Nonpriority Creditors Name é€ 5
When was the debt incurred? m
jm:_§a:>\ gov too rated \,t’ri»§ Dr iii>\o ,
\.l r el §
5 As of the date your file, the claim` is: Check all that apply.
o\/l/l°i '?\or »<b 53 \S(L
state zlP code C] contingent
_ a unliquidated
Who incurred the debt? Check one. n Dispu¢ed
8 Debtor 1 only §
El oenterz only Type dr NoNPRioRiTY unsecured elaim: l
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g Debtor 1 and Debtor 2 only g S‘udem wm x
A§ least °ne °f the deb§°'s and another n Ob|igations arising out ot a separation agreement or divorce th t 1
n Check it this claim is for a community debt you d'd not report as pmth cl_a|ms . . f
§ - n Debts to pension or prot'lt~shanng plansl and other similar debts t
ls the claim subject to oftset? Cl Other_ Specify §
B No §
El Yes §
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Case 18-22930-LM| Doc 26 Filed 11/26/18 Page 24 of 57
Debtor1 WF\ p\Q §:_ t RO\AAO }~) Case number inundwni \%_ 395-jt 5 - -L' M_:

Middle Name Last Name

List All of Your NONPR|OR|TY Unsecured Claims

r‘ t 3. Do any creditors have nonpriority unsecured claims against yo u?

n No. You have nothing to report in this part. Submit this form to the court with your other schedules §
Yes .

4. List a|l._of-your nonpriority unsecured -claims in the alphabetical order of the creditor who holds each claim, lf a creditor has ore than one
nonpriority unsecured claim,-list the creditor separately for each claim. For each claim |isted, identify what type of claim it is. Do not li t claims already

' included in Part 1, lf more than one creditor holds a particular claim` list the other creditors iri Part 3.lf you have more than three non riority unsecured
claims fill out the Continuation Piage of Part 2. `

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\CD¢V-D o§-lxm E)€QQ\/l \_Q\QS E')\\jd BV§|;€C'; gas the debt incurred? \'} " 3~0’_\5

 

Number \ §
Q\/l i; 531 ';lQ l ’
City state zlP code As of the date you file, the claim is: Check all that apply_
m Contingent
Who incurred the debt? Check one. 3 Unliquidated
a Debtor 1 only n Disputed
0 Debtor 2 only
0 Debtor 1 and Debtor 2 only Type of NONPR|OR|TY unsecured claim:

0 At least one of the debtors and another n Student mens

0 check if this claim is for a community debt n Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
n Debts to pension or profit-sharing ptar\s, and other similar debts

m No n Other. Specity
0 Yes

ls the claim subject to oftset?

 

 

 

 

 

` w
.2 gdc § §C § § ) `_Q§ ` °‘ Last4 digits of account number §§ 5 a $ q "
Nonpriorily creditors Name § § When was the debt incurred? M 5 §
t \e:i§&tllu£>eoc&t \o§es i?>\\lé tr Zobl '
Number Street §
§ § !EE& §§ §§ 2 E 82 ‘,\QZ ""x:} z z j !;2\ As of the date you file, the claim is: Check all that apply. §
City state zlP code n Con§§ngen§ ‘
Who incurred the debt? Check one. 3 Unliquidated
B Debtor1 only 0 D‘spu§ed
0 Debtor2 only ~ _
n Debtor 1 and Debtor 2 only Type of NONPR|OR|TY unsecured claim:
0 At least one of the debtors and another cl Student loans ` z
_ _ _ _ _ n Obligations arising out of a separation agreement or divorce
n Check lt this claim ls for a community debt that you did not report as pr§°n-ty Claims
ls the claim subject to offset? m Debts to pension or profit-sharing plans, and other similar debts
a No a Other. Specity
n Yes
m Q.O

 

3 j \\)QJ\_\°O\AS§-Qr . Last 4 digits of account number l_ §Q_ a ga s Q O w O

N°np"°my ore mrs ama When was the debt incurred? Q\ “ 500 LQ

‘<§<i 50 C
.T)< 166\ q As of the date you file, the claim is: Check all that apply.

Number Street
State ZlP Code

COQQ€ \
civ i i

   
    
 

 

n Contingent
¢El unliquidated
0 Disputed

Who incurred the debt? Check one.
8 Debtor1 only

n Debtor 2 only

n Debtor1 and Debtor 2 only

n At least one of the debtors and another

 

Type ot NONPR|OR|TY unsecured claim:

 

n Student loans
n Check if this Claim is f°" a C°mmu"ity debt n Obligations arising out ot a separation agreement or divorce
l . . ff 7 that you did not report as priority claims
§ ' l§the c mm subject to o set n Debts to pension or protit-shanng plans, and other similar debts
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Ofticial Form 106E/F Schedule Ele Creditors Who Have Unsecured Claims page § of 13

 

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Debtor1 WV;Q\@ C’ QO\AML) Case number(irknowni \K _ '>:aq .:Q " UI

Midd|e Name Last Name

 

Lis\ All of Your NONFR|OR|TY Unsecured Claims 35

f 3. Do any creditors have nonpriority unsecured claims against you?
m No. You have nothing to report in this part. Submit this form to the court with your other schedules.

 

 

 

 

 

 

 

 

Yes z
4, List all_.of your nonpriority unsecured :cla`ims in the alphabetical order of the creditor who holds each claim, lf a creditor has nore than one
nonpriority unsecured claim, list the creditor separately for each claim. For each clalmlisted, identify what type of claim it is. Do not l st claims already
included in Part 1. ll more than one creditor holds a particular claim, list the other creditors in Part 3.lf you have more than three non riority unsecured
claims fill out the Continuation F'age of Part 2.
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,_,.- 9 ._ _ . , l § '7
E §{)\ at l 0 HU;O\ \ (`) <_»€ rul UOS Last 4 digits of account number _‘ 5 _<Q Q_ (p ..8
Nonpriorily Creditor's Name \ 5 $ - v
- When was the debt incurred? _\_B_~:_W `
90 1 §@Q desert .
Number el § >
(" ‘ -
\ct\i LO l§c> <;i-l>./ U'i`XLi \<a€ Qe§so _ .
city / slate zip Code of the date you file, the claim is: Check all that apply_
l 0 Contingent
Who incurred the debt? Check one. Unliquidated §
m Debtor 1 only 0 Disputed ;
n Debtor 2 only
C| Debtor 1 and Debtor 2 only Type ot NONPR|OR|TY unsecured claim: ,_
n At least one ot the debtors and another n Student loans
n check if this claim is for a community debt ij Obligations arising out ol a separation agreement or divorce l
that you did not report as priority claims
§ ls the claim subject to oftset? C] Debts to pension or profit-sharing plansl and other similar debts
i a No n Other. Specify
n Ves
§ ‘ 99
.2 C]> mac Q‘O§_»m §~Q\": 0 \A Last 4 digits of account number Q_ 5_ B_ ca $_,H.D_'M `
t Nonpriorily creditors NB`e l When was the debt incurred? m 5 ;

l \OOmber'\a)`i-l§‘ tyler Rcd
§ §i_\O(-_ g eeO\M §§ Q ~ "7€§ 0 L§ l__§ As of the date you file, the claim is: check ali that apply.
`: ‘ 5

 

 

City late zlP code 0 Contingent
who incurred the debt? check one. 3 Unliquidated
E Debtor1 only n Disputed
n Debtor 2 only _
§ n Deb§or1 and Debtor 2 amy Type of NONPR|OR|TY unsecured claim:
` n At least one ot the debtors and another n Student loans ` i

n Obligations arising out ol a separation agreement or divorce

n Check if this claim is for a community debt that you did not report as priority claims

 

ls the claim subject to offseg? n Debts to pension or profit-sharing plans, and other similar debts
g No ' n Other. Specity
n Yes

 

 

4.3 M;i§ MQ(,( § §§ t §§ h<: l L;stttdigits ofaccount number b Q_ §_&3 ms 145 71 4 O@ :'-
§ o print cired“°rs Name ' en was e e incurre ? ’ O\ __
U` assz british ;j\t, easier P\.\<é"" "` d m " d

 

 

 

Number Street
- €’ Q-\
W€W+Cl§t ] V\ b(g\l'gn \'gte zlP c°d"eq 073 As ot the date you file, the claim is: Check all that apply.
ly a

 

n Contingent
8 Unliquidated
Cl Disputed

Who incurred the debt? Check one.
2 Debtor 1 only

n Debtor 2 only

0 Debtor 1 and Debtor2 only

n At least one of the debtors and another

 

 

Type of NONPR|OR|TY unsecured claim:

 

 

Cl student loans
n Check if this Claim is for a C°mmu"ity debt n Obligations arising out of a separation agreement or divorce
l l h l . b. n n t? that you did not report as priority claims
` s t e c mm su lee o 0 se n Debts to pension or profit-sharing plans, and other similar debts
a No n Other. Specify
n Yes

z

Ofticial Form 106E/F Schedule Ele Creditors Who Have Unsecured Claims pagei of 13

 

CaS€ 18-22930-L,|\/||

Debtor1 Ml@h C - ROMO l\)

int Name Middle Name Last‘Name

Your NONPR|OR|TY Unsecured claims - continuation Page

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Case number (innawnl ` g v 9 D"q ?)(3

 

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State ZlP Code

Who incurred the debt? Check one.

a Debtor 1 only

a Debtor 2 only

a Debtor 1 and Debtor 2 only

a At least one of the debtors and another

cl Check if this claim is for a community debt

ls the claim subject to offset?

a No
a Yes

Last 4 digits of account number £Q 0_ 5 l
When was the debt incurred? \'B ’ 3<)65

As of the date you file, the claim is: Check all that apply.

a Contingent
8 unliquidated
Cl Disputed

Type of NONPR|OR|TY unsecured claim:

a Student loans

a Obligations arising out ol a separation agreement or divorce that
you did not report as priority claims

a Debts to pension or pmm-sharing p|ans, and other similar debts

a Other. Specify

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§ d wm \< k)CL-\-g O\AQ\ QS<~D Q;O‘\~;OMLast 4 digits of account number _<Q _O 5 2

 

 

Nonpn'on'ty Creditors Name
lisa tun\vtut et
Number Street

 

. o o
C \V\ Cl \I\ \/\Q'\` l
y State ZlP Code
§ Who incurred the debt? Check one.

m Debtor1 only

a Debtor 2 only

a Debtor 1 and Debtor 2 only

a At least one of the debtors and another

cl Check if this claim is for a community debt

ls the claim subject to offset?

va No
a Yes

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When was the debt incurred? § &“ 3505

As of the date you file, the claim is: Check all that apply_

a Contingent
8 unliquidated
a Disputed

Type of NONPR|OR|TY unsecured claim:

a Student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

a Debts to pension or prof t -sharing plans and other similar debts

a Other. Specify

 

G>W\C Hov'iqctticv LLC

 

 

Nonprlon'ty Creditor s Nam

N se ssit ilQu/twtovta lane

c 3\~(0 (' C>O 'I-¢~\ . 539-10 D.
lty State |F Code

 

 

Who incurred the debt? Check one.
9 Debtor 1 only

, a Debtor 2 only

; a Debtor 1 and Debtor 2 only

n At least one of the debtors and arother

l El Check if this claim is for a community debt

ls the claim subject to offset?

a No
n Yes

Ofticial Form 106E/F

Last 4 digits of account number 3%_5_(0_
When was the debt incurred? \ & “ 3;0;>5

As of the date you file, the claim is: Check all that apply_

a Contingent
¢B unliquidated
a Disputed

Type of NONPR|OR|TY unsecured claim:

a Student loans

a Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

a Debts to pension or profit-sharing plans, and other similar debts
a Other. Specify

 

Schedule E/F: Creditors Who Have Unsecured Claims

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page~_§_ ot _\;

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Debtor1 F\,Ntl(\` Q\G <;` gOM/(Q w Case number launawnl \B:>’>'q m

Middle Name Last Name

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l
i,.i

 

List All of Your NONPR|OR|TY Unsecured Claims

 

f` 3. Do any creditors have nonpriority unsecured claims against you?

n No. You have nothing to report in this part. Submit this form to the court with your other schedules. § x
Yes 5 "`

4, List a|l_.of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim, lf a creditor has more than one
nonpriority unsecured claim,'|ist the creditor separately f_or each claim, For each claim,listed, identify what type of claim it is_ Do not l st dalms already
included in~Part 1. if more than one creditor holds a particular claim. list the other creditors irl Part 3.lf you have more than three nonpriority unsecured t
claims ill out the Continuation F?age of Part 2. l `

 

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t Iét§'.?l§i'li
E \%t_ \\b"`\ OM,G`\ _C'_ red t"r Last 4 digits of account number _Q`J_ S_Q_

Nonpn`ority Creditor‘s Name q`

?- 0 . %Q X 5 i?£'D When was the debt incurred? 05 " QO\S ~ §

ii

 

 

 

Number Street :
<mo>§ '“-F`cg\ s §bg;_'lllg£§l¥€p , _

city f state zlP code As of the date you file, the claim is: Check all that apply.

0 Contingent 5
Who incurred the debt? Check one. E] Unliquidated ' ‘
0 Debtor 1 only 0 Disputed ; ij
0 Debtor 2 only "
\:l Debtor 1 and Debtor 2 only Type of NONPR|OR|TY unsecured claim: `

0 At least one of the debtors and another C| Student loans

0 check ii this ciaim is i°r a community debt g Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

g Debts to pension or profit-sharing plans, and other similar debts
C| Ne C| other, specify
0 Yes

2 M\\{“Qf‘ "" l \`4 B (‘i.) 9 Last 4 digits of account number 4le a $_M:

Nonpriority Creditor‘s Name f When was the debt incurred? _OJ_"_M_\S

l NP.O. S§O>< trian;vxf,l
w{§ro SLL);, “ <bpi 500’7(0 As of the date you file, the claim is: Check all that apply.
city

state ZlP Code [] Contingent

 

ls the claim subject to offset?

 

 

 

 

Who incurred the debt? Check one. Unliquidated

E Debtor1 only n Dlsputed

0 Debtor 2 only .

g Debtor1 and Debtor 2 only Type of NONPR|QR|TY unsecured claim: v
cl At least one of the debtors and another g Student loans ` l

0 Obligations arising out of a separation agreement or divorce

cl Check if this claim is for a community debt that you did not repo¢l as priority claims

 

is the claim subject to offset? g Debts to pension or profit-sharing plans, and other similar debts
m No 4 g Other. Specify
n Yes

 

3 HQC y$ _ Last 4 digits of account number 3 l L \

N-o%pn°m<<:)d;:§_me -’i %_\_vp p "_ When was the debt incurred? 05 " ® \ cl

 

 

 

` Number Street
; o " ai- O \ d c'
_C \\/LC § DWO f \ O L\ Q M` As of the date you file, the claim is: Check all that apply_
§ City State ZlP Code
l L`.l c t' e t
l Who incurred the debt? Check one. or_\ m,g n

§ /@ Unliquidated

Debtor 1 only n Disputed

n Debtor 2 only
n Debtor 1 and Debtor 2 only
cl At least one of the debtors and another

 

Type of NONPR|QR|TY unsecured claim:
0 Student loans

 

 

n Check if this Claim is for a C°mmuni\y debt n Obligations arising out of a separation agreement or divorce
i l th l . b_ t z " n that you did not report as priority claims
' § § e c mm su ]ec o o se ` n Debts to pension or profit-sharing plans, and other similar debts
No n Other. Specify
cl Yes l
. . l `
Ofticial Form 106E/F Schedule EIF: Creditors Who Have Unsecured Claims l page Q of ‘3

CaS€ 18-2 930-LM| DOC 26 Filed 11/26/18 Page 28 Of 57

Debtor1 |§;;!Q(\€Le gm C mimmeM/`G’\) Case number(irknawnl \ §§ _ 921 ;l 5 §§ j - LH:

Your NONPR|OR|TY Unsecured Claims - continuation Page

 

 

 

 

 

 

 

 

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s `g f 3 ii § MQ Last4 digits of account number SQQ 5 § $M _:
Nonpriority Cre nor s Name '
When was the debt incurred? O H ' \ \ " &( f )_' §
_-iCCt§ l{lt°ol° l §ansz 7
Num r Stree\ Q\ As of the date you file the claim is' Check all that apply
C P l‘ r \/ H° l 63li l\)T . ’ '
/ zll= code El Contingent
5 Unliquidated

Who incurred the debt? Check one.
m Debtor1 only

Cl Debtor 2 only Type of NONPR|OR|TY unsecured claim: 1
m Debtor 1 and Debtor 2 only jr
0 At least one of the debtors and another

n Disputed

0 Student loans
n Obligations arising out ol a separation agreement or divorce tha
you did not report as priority claims

n Debts to pension or prolit-sharing plans, and other similar debts
ls the claim subject to offset? m Other. Specify

No
0 Yes

0 Check if this claim is for a community debt

 

 

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g Last 4 digits of account number 113 b $\O \\
N ' 't § '

eggycged °r_s Name § § § When was the debt incurred? \,3’ o 3 0 \5
Number Street >

1 W >/Or id i\$)y \© 936 _3>\% As of the date you file, the claim is: Check all that apply_

city ZlP code n Contingent
81 unliquidated
n Disputed

 

Who incurred the debt? Check one.

m Debtor 1 only
El Debtor 2 only Type of NONPR|OR|TY unsecured claim:
Cl Debtor 1 and Debtor 2 only

n Student loans
0 At least one of the debtors and another

0 Obligations arising out of a separation agreement or divorce that

you did not report as priority claims
m Debts to pension or profit-sharing plans, and other similar debts
is the claim subject to offset? C] given Specify

9 No
0 Yes

n Check if this claim is for a community debt

 

 

 

mem 3 __Y_'_Q-\"C{ 0 _\:_\ `\AG\K Cc:q\` Last 4 digits of account number _\_ Q__ §_ §
Noripr-zmjgw©"or's Na‘m:) ;|DQ S,)i_ A\/ When was the debt incurred? ` § ‘ go \ 6

Number Street

 

 

As ot the date you file, the claim is: Check all that app|y.
citS’Lou>< ”Fql\S >b E>i lOLi
zlP code El Contingent
3 Unliquidated

Who incurred the debt? Check one.
' z Debtor1 only

§ Cl Debtor 2 only Type el NoNPRloRlTY unsecured claim:
i 0 Debtor 1 and Debtor 2 only '
0 At least one of the debtors and another

 

C| Disputed

0 Student loans

m Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

0 Debts to pension or profit-sharing plans, and other similar debts j
ls the claim subject to offset? [:] other Specify

a No
n ¥es

 

i 0 Check if this claim is for a community debt

thcial Form 106E/F Schedule ElF: Creditors Who Have Unsecured Claims § page 1 of _\_3

 

Case 18-2

ph <:.

Middl¢ Name

Debtor 1

List All of Your NONPR|OR|TY Unsecured Claims

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O‘MQQ

Last Name

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Case numberlirlnowni \ % m S'A'q

fe 3. Do any creditors have nonpriority unsecured claims against you?
n No. You have nothing to report in this part. Submit this form to the court with your other schedules.

Yes

g \jkli`c)r')©\“s <..EiC)'€'\`

Nogon`ly Creditors Name

O- Q>C)>\

Num r Street

go uwlbo$ , C)H

Who incurred the debt? Check one.
a Debtor 1 only
El Debtor 2 only
' m Debtor1 and Debtor2 only
n At least one ot the debtors and another

ls the claim subject to offset?
d No
n Yes

nonpriority unsecured claim, list the creditor separate|
included irl-Part 1. lt more than one creditor holds a
claims fill out the Continuation F_’age of Part 2.

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HSMQ

ZlP Code

Cl check if this claim is for a community debt

Last 4 digits of account number _\_ g_ 3_ 2'_
When was the debt incurred? _QB;QQ \ _]

As of the date you file, the claim is: Check all that apply.

n Contingent
`B unliquidated
a Disputed

Type of NONPR|OR|TY unsecured claim:

0 Student loans

0 Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

g Debts to pension or profit-sharing plans, and other similar debts

Cl other. specify

 

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4.A List all,.of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim, if a creditor has nore than one

y for each claim. For each claim listed, identify what type of claim it is. Do not l st claims already
particular claim, list the other creditors in Part 3.lf you have more than three nonpriority unsecured

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Nonpriority C¢ditq"s Narp!

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Number Street

 

 

State

Who incurred the debt? Check one.
m Debtor1 only

n Debtor 2 only

n Debtor1 and Debtor 2 only

n At least one of the debtors and another

ls the claim subject to offset?

§ CityS\n<zumrlee, \~ii;${ou K$. WO}

ZlP Code

n Check if this claim is for a community debt

Last 4 digits of account number B_ Q_ \

When was the debt incurred? 05 '__a_O \ Cp

As of the date you tile, the claim is: Check all that apply.

n Contingent
& Unliquidated
[:l Disputed

Type of NONPR|OR|TY unsecured claim:

0 Student loans

0 Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

0 Debts to pension or profit-sharing plansl and other similar debts

Cl olher_ specify

 

$_ §oo"-‘~"

 

 

 

 

No
n Yes W
'3 H\_A?y ._":) \AQL\A ge Last 4 digits of account number Z_ Z_,J_LL
7 No ioritnye tor‘sName , l en e e ' c re . _] ‘ 0\
§ <50 w \:)Q)A~€ Wh wasth dbtlnurd" 0 § (O

 

State

vi Who incurred the debt? Check one.

= 9 Debtor 1 only

7 n Debtor 2 only

n Debtor 1 and Debtor 2 only

n At least one of the debtors and another

::§i:i\o`s"eei\o\n`lc QA.

lQmM

ZlP Code

El check if this claim is for a community debt

ls the claim subject to offset?
n No
n Yes

§ .

Ofticial Form 106E/F

As of the date you file, the claim is: Check all that apply.

m Contingent
m Unliquidated
n Disputed

Type of NONPR|OR|TY unsecured claim:

Student loans

Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

Debts to pension or profit-sharing plans, and other similar debts
Other. Specify

UU UU

 

Schedule E/F: Creditors Who Have Unsecured Claims

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C@\S€ 18-22930-LI\/.ll Doc 26 i=iied 11/2'6/18 Page 30 of 57 §

VbtoeC\o C-

Fir;t Name Middi¢ Name

Qovi)\o o

Last Name

Debtor 1
List Al| of Your NONPR|OR|TY Unsecured Claims

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claims f ll out the Continuation Page of Part 2.

E TC Pe\/M\/

 

Nonpriority Creditors Name
N l:O. §§>)\ ciz§Li lOO

 

_'i`>€

State

950 Ti¢iq$t

City ZlP Code
Who incurred the debt? Check one.
m Debtor 1 only

n Debtor 2 only

n Debtor 1 and Debtor 2 only

n At least one of the debtors and another

lIl check it this ciaim is for a community debt

is the claim subject to offset?
m No
0 Yes

 

Case number iiikncwni \g ~ gaq 50 ' \- MI

t

3. Do any creditors have nonpriority unsecured claims against you?
m No. You have nothing to report in this part. Submit this form to the court with your other schedules

.i._ List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim, lf a creditor has more than one
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, included in Part 1 if more than one creditor holds a particular claim list the other creditors in Part 3 lt you have more than three no priority unsecured

_`[9¥3' ¢'?`l'!‘ ,
Last 4 digits of account number_g k }__ Q'_ \ ` 5 @:\o

When was the debt incurred? OL) " 30 i _i

As of the date you file, the claim is: Check all that apply.

n Contingent
`!3 unliquidated
n Disputed

Type of NONPR|OR|TY unsecured claim:

a Student loans

n Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

0 Debts to pension or profit-sharing plans, and other similar debts

Ci other speciiy

 

 

-2 ‘€>o\ii<oi- Hmcngci ui£>ua
z Nonpriority Creditor' sma

1 hoc Cim“sbgi)ic:t §;i.

 

Last 4 digits of account number 3 CQ___I__ §
When was the debt incurred? ‘O " §§ \S

 

 

 

 

 

\00‘1 C)ro\i,iqe_ S'\§ g
` intim`c\/icijf<>\/\ 'DF_

ly city state

\qXC>\

ZlP Code

` Who incurred the debt? Check one.

§ a Debtor 1 only

n Debtor 2 only

n Debtor 1 and Debtor 2 only

a At least one of the debtors and another

C] Check if this claim is for a community debt

\ is the claim subject to offset?
/ m No
n Yes

Ofncia| Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

Number
ah SW\.. \ 25 \E] \ § As of the date you file, the claim is: Check ali that apply_
city state ZiP code n Contingent
who incurred the debt? check cite Unliquidated
m Debtor1 only n D'sputed
0 Debtor 2 only _
0 Debtor1 and Debtor 2 only Type of NONPR|OR|TY unsecured claim: 1
n At least one of the debtors and another n Student loans 5 §
_ _ l _ _ n Obligations arising out of a separation agreement or divorce
n Check if this claim is for a community debt that you did not report as prioiity claims
ls the claim subject to offset? n Debts to pension or profit-sharing plans, and other similar debts
a No n Other. Specify
0 Yes
`a | deQ\/S iw\< *De\aw(e Last 4 digits of account number O _&____ l l x 5 "
Nonpriority Crediloi“s Name s

C>Li aoi<¢

When was the debt incurred?

As of the date you file, the claim is: Check all that apply_

a Contingent
m Unliquidated
n Disputed

Type of NONPR|OR|TY unsecured claim:

Student loans

Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

Debts to pension or protit-sharing plans, and other similar debts
Other. Specify

UU UU

 

pageq_ of _|&

 

 

o C.. wioo

Middie Name Last Name

Case 18- 930-Ll\/|l DOC 26 Filed 11/26/18 Page 31 of 57
Debtor1 WUP\
FintNlmc

Your NONPR|CR|TY Unsecured Claims - Continuation Page

Case number i,~rt,,.,w,,) \%- ASQ 5(> ~' \~ M:

 

 

tfter listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

 

 

 

HQFCQ&@S - T“_`J€w,z

 

 

Nonpriority Creditor's Name
NC:OO s§y/t\_m S<;>; Ec)`o.)

_ adm <§>L\. 50 593
City State ZlP Code

 

Who incurred the debt? Check one.
la Debtor1 only

m Debtor 2 only

m Debtor1 and Debtor 2 only

m At least one of the debtors and another

cl Check if this claim is for a community debt

ls the claim subject to offset?

g No
m Yes

Last 4 digits of account number :%_(§L_€_
When was the debt incurred? id _ SOO(O

As of the date you file, the claim is: Check all that apply_

m Contingent
3 uniiquidated
El Disputed

Type of NONPR|OR|TY unsecured claim:

m Student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

m Debts to pension or profit-sharing plans, and other similar debts
a Other. Specify

 

`_\ bd r\c;L Ow\ilti ~’r_-"\`\AQ\AC°>OL\

Nonpriority Creditors Name

 

 

 

 

Nu§b;;}j%§ O\'i\/tz \?)\ud atf 230
§ \_oti‘rs \i.ow.te em;c\;j\

Who incurred the debt? Check orie.

i B Debtor 1 only

cl Debtor 2 only

El Debtor 1 and Debtor 2 only

n At least one of the debtors and another

m Check if this claim is for a community debt

ls the claim subject to offset?

va No
El Yes

Last 4 digits of account number _D _3_ 5 g_
When was the debt incurred? j § " Y>(O

As of the date you file, the claim is: Check all that apply_

n Contingent
& uniiquidaieti
m Disputed

 

Type of NONPR|OR|TY unsecured claim: §

n Student loans

m Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

n Debts to pension or profit-sharing plans, and other similar debts §

m Other. Specify

 

 

§-\\Me><

 

 

Nonpriority Creditor's Name
BOQ ;i€sp ~/ air eat
Number Street / b
. ~ {\) -
ciiy si e ziP code

Who incurred the debt? Check one.
la Debtor 1 only

n Debtor 2 only

m Debtor 1 and Debtor 2 only

n At least one of the debtors and another

 

1 El Check if this claim is for a community debt

ls the claim subject to offset?
va No
" n Yes

Last 4 digits of account number 5 B_ l _B_

When was the debt incurred?

As of the date you file, the claim is: Check all that apply_

m Contingent
unliquidated
n Disputed

Type of NONPR|OR|TY unsecured claim:

cl Student loans
cl Obligations arising out of a separation agreement or divorce that

 

you did not report as priority claims

n Debts to pension or profit-sharing plans, and other similar debts §

U' Otherl Specify

Cfficial Form 106EIF Schedule E/F: Creditors Who Have Unsecured Claims

page \_Q oi _i_$

 

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Debtor1 H(I\tobm mec 1 ROWQ k) Case number(irkncwn) x g ' 2953 :O _ LH :

 

First Name Last Name

Your NONPR|OR\TY Unsecured Claims - Continuation Page

 

tfter listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

QY\ \\h\/\/ 'l(j_` ;/V \/l C lb Last 4 digits of account number _O__ 5 8___]__

Nonpriority Creditor’ s Namef

O_f\?)(]><f q'% \/L\ ©O When was the debt incurred? w \(C)
::nb€% S“:t(-‘ "`>< ’°]q qq g As of the date you file, the claim is: Check all that apply
l

state ZlP Code n Contingent
g Unliquidated
n Disputed

 

 

 

 

Who incurred the debt? Check one.

n Debtor1 only
n Debtor 2 only Type of NONPR|OR|TY unsecured claim:
n Debtor 1 and Debtor 2 only

n Student loans
a At least one of the debtors and another

n Obligations arising out ol a separation agreement or divorce tha
you did not report as priority claims

n Debts to pension or pront-sharing plans, and other similar debts
ls the claim subject to offset? Cl Other. Specify

`ENo
DYes

0 Check if this claim is for a community debt

 

 

__| \). g mem(\* MQ M\- GLV)S*\LQ Last4digits ofaccount number 5 3_ B;'__ S’

Nonpriority Creditor's Name

qq i\i E L\ `>*j' __i_j \‘\’€ 530 When was the debtirlcurred? \¢" 30\5

 

 

 

per street
- _ , '-~* As of the date l.l flie, the claim is: Check all that apply.
Niilonn del estes ’°
ciiy j state zlP code C] Contingent
5 unliquidated

Who incurred the debt? Check orle.

Cl Dispuled
3 Debtor 1 only

 

El Debtor 2 only Type ci NoNPRloRlTv unsecured claim:
a Debtor 1 and Debtor 2 only

a Student loans
n At least one ol the debtors and another

a Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

a Debts to pension or pmm-sharing plansl and other similar debts

ls the claim subject to offset? [;] when Specify

g No
n Yes

D check if this claim is for a community debt

 

__i w|. S l C B ") lL"' Last 4 digits of account number §§ § l
Nonpn°my Creditors Name l C:`>~\M\ `,\-`4 Sqd When was the debt incurred? § zg“ MQ

 

 

 

 

C‘:y;"b‘" CE \a°lid 0 H L` q \ 2 3 As of the date you file, the claim is: Check all that apply_
slate zlP code C] contingent
El unliquidated
t Who incurred the debt? Check on-e. E| Disputed

f n Debtor1 only
, n Debtor 2 only Type of NONPR|OR|TY unsecured claim:
§ n Debtor 1 and Debtor 2 only

a Student loans
n At least one of the debtors and another

a Obligations arising out of a separation agreement or divorce that

t , o did t ita ' 't laims
i n Check if this claim is fora community debt y u no repo s p"o"yc

ls the claim subject to offset? E| mhary Specify
a No
n Yes
Ofticial Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims

 

n Debts to pension or pmm-sharing plans, and other similar debts

$;t 553§}1\<@%

 

page h of _\_3_

 

 

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CaS€ 18-22 30-L|\/|.|

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Casenumber(irimowrr) \& ' S,E}`q 50 - L H:

 

 

§ 5. Use this page only if you heivs others to be riotMed about your bankruptcy. for a debt that you already listed in Pa 1 or 2. For

 

 

 

 

exampla. if a collection agency is trying to collect from you for a debt you owe to someone elee, list the original ltor in Parts 1 or
2, then list the collection agency here. Similariy, if you have more than one creditor for any ofthe debts that you listed l Parts 1 or 2, list the
additional creditors here. if you do not have additional persons to be notified i'or any debts in Parts 1 or 2, do not fill out r submit this page.

On which entry in Part 1 or Part 2 did you list the orig nat credited

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name
Line of (Check one): n Part 1: Creditors with Priority Unsecured Claims
"“"‘°°' S"°°* Ei Part 21 creditors with Nonpriority unsecured ciaime
Last 4 digits of account number__ _ __ __
city state ziP code
On which entry in Part 1 or Part 2 did you list the original credited
Name
Line of (Chock one): Cl Part 1: Creditors vtn`th Pr|ority Unsecured Claims
"""‘°°' S“°‘ Ei Part 2: creditors with Nonpriority uneeourod
Claims
Last 4 digits of account numbor__ __ __ __
city state ziP code
0n which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Chock one): U Part 1: Creditors vtn`th Pr‘r)rlty Unsecured Claims
N‘““°°' 5""°‘ Cl Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number__ __ __ __
city state zlP code
On which entry in Part 1 or Part 2 did you list the original credited
Name
Line of (Check one): U Part 1: Creditors with Priority Unsecured Claims
N""'b°' S”°°' U Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number__ ___ __ _
city state ziP code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Chock one): U Part 1: Creditors vtn'th Priority Unsecured Claims
"""'°°' 5"°°‘ El Part 2: creditors with Nonpriority unsecured
Claims
Last 4 digits ofaccount number__ __ ___ ___
city state ziF code
On which entry in Part 1 or Part 2 did you list the original croditor?
Name
Line of (Check one): Cl Part 1: Creditors with Priority Unsecured Claims
N""‘b°' S"°°‘ U Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number__ __ ___ __
city state ziP code
N On which entry in Part 1 or Part 2 did you list the original creditor?
am
Line of (Chock one): U Part 1: Creditors with Priority Unsecured Claims
""' '°°' S"'°‘ El Part 2: creditors with Nonpriority unsecured
Claims `
Last 4 digits of account number

ZlP Code

t _',___Ti' T_ §Ez§e.\gq'lS

 

 

` Case 18-22930-Ll\/|| DOC 26 Filed 11/26/18 Page 34 of 57

Case number(irkrrowrri \X " D`S~qz - \*'“ M:

Debtor 1 § |§Q ref \Q C, . QO\MG\,N)

First Name Middle Name Last Name

Add the Amounts for Each Type of Unsecured Claim

 

.. Totai the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.

Add the amounts for each type of unsecured claim.

Totai claims 6a. Domestic support obligations

f P
r°m am 6b. Taxes and certain other debts you OW€ the

government

6c. Claims for death or personal injury while you were
intoxicated

6d. Other. Add ali other priority unsecured claims.
Write that amount here.

6e. Tota|. Add lines 63 through 6d.

Tota| claims 6f. Student loans

from part 2 6g. Obligations arising out of a separation agreement

or divorce that you did not report as priority
claims

6h. Debts to pension or profit-sharing plans, and other
similar debts

6i. Other. Add all other nonpriority unsecured claims.
Write that amount here.

6j. Tota|. Add lines 61 through 6i.

Ba.

6b

6c.

6d.

6c.

6f.

6h.

6i.

6i.

Totai claim

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$ ;
+ $ t

 

 

 

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Totai claim

 

 

 

 

B:i

 

 

Ofticial Form 106E/F Schedule Ele Creditors Who Have Unsecured Claims

 

 

 

 

pagel$ of 13

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Fili in tiii<s iiiioi'irr;ition to identify your t,(i=,t»

      

 

 

m Vctr`ie\o C. <)Wdt)

Fir¢Nlns MiddeName tptName
Deb\Ol`z 3
(Spouseltfilinq) Frmmm¢ tamm mm "

united states Bankruptcy court for them ' \' V\ District of m
Case number \% _ S`El*q 50 " \~ H:r

mmi El check it this is an
amended filing

 

Ofticial Form 1066
Schedule G: Exiecutory Contracts and Unexplred Leases 12/15

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
lnformatlon. if more space ls needed, copy t'he additional page, fill lt out, number the entries, and attach lt to this page. Crr the top of any
additional pages, write your name and case number (lt known).

 

 

 

1. Do you have any executory contracts or unexpired leases?
a No. Check this box and title this form with the court with your other schedules. You have nothing else to report on this fonn.
n Yes. Fili in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Ofticlal Form 106A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract 1or lease le for (for

example, rent, vehicle leasie, cell phone). See the instructions for this form in the instruction booklet for more examples cf executory contracts and
unexpired leases.

Personorcompanywlthvtrhomyouhavethecontractorlease Statewhatthecontractorleaselsior

 

Name

 

 

Number Street

 

City State ZlP Code

 

 

§ Name

 

 

Number Street

 

i city state ziPcooe

 

 

Name

 

Number Street

 

City State ZlP Code

 

Name

 

Number Street

 

city state ziP code

 

 

2.5§

 

NBH'I€

 

Number Street

 

 

City State ZlP Code

 

Debtor1

CaS€ 18-22930-L|\/||

HQC'>?\Q C»

Firct Name

Mld‘la|lame

ghc“>_\t/\Q'o

- Mi|t|onal!a¢ell\'oul'lavelon¢ontractsorl.oases

Person or company with whom you have the contract or lease

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5 Name

 

Number

Street

 

City

ZlPCode

Casenumber(mmr \% n QM 50 _ L H:

 

Whatthecontractor|eaeeisfor

 

 

l Narrre

 

Number

 

City

State

ZlP Code

 

 

i Name

 

j Number

Street

 

City

State

ZlP Code

 

 

 

Name

 

Number

Street

 

City

State

ZlP Code

 

Name

 

Number

 

City

State

ZlPCode

 

 

 

Name

 

Number

Street

 

City

State

ZlP Code

 

 

l Name

 

i Number

Street

 

City

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State

ZlP Code

 

\.t_,.,_T

 

Number

 

City

State

ZlP Code

 

 

 

 

 

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Fili iii this iiil©iiir;itloii 10 identify your misc

oebturt mie\@ C gigth L)

ltIddeNama

Debtor 2
(Spouse,ltli|ing) FintN-me MiddeN¢me i.-tN-me

united states Bankruptcy court fur umw Dishict of_"\"'i Qr,` do
Case number \K ° B'a‘q 330 "' \- \~’1,:

(lt known)

 

 

El check if this rs ah
amended filing

 

Ofticial Form 106H
S¢l'l¢d\ll¢ I'l: Y¢|lll' CCthbt¢|rS 12115

Codebtors are people or entitles who are also liable for any debts you may have. Be as complete and accurate as pos‘s¥le. lt two married
lt

 

 

are filing together, beth are equally responsle for supplying correct lnformatlon. lt more space is needed, copy the lonal Page, fill lt out,
and number the entries in the boxes on the left. Attech the Addltlonal Page to this page. On the top of any Addltlonal P ges, write your name and
case number (it known) Answor every question

, ._.
) 1. Do you have any codebtonl? (if you are filing a joint case do not list either spouse as a codebtor )
x I No

‘ n ¥es
§ 2. Wlthin the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
l

 

Arizona, Califomia |daho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin. )

m No. Go to line 3. y i
§ cl Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
l cl No ‘

cl Yes. ln which community state or territory did you live? . Fill in the name and cunent add of that person.

 

i Nameotyotirspouse.torrnerspeuee.orlegaiequivdent

 

Number Street

 

§ city stats ziPcoa¢

3. ln Column 1, list all of your codebtore. Do not include your spouse as a codebtor lt your spouse ls filing with you. li.ist the person

§ shown in line 2 again as a codebtor only lt that person is a guarantor or coslgner. Make sure you have listed the creditor on

x Schedule D (Oflicial Form 1060), Schedule E/F (Ct’t'lcial Form 106EIF), or Schedule G (Oflicial Form 1066). Use uIe D,
Schedule E/F, or Schedule G to fill out Column 2.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Column1:Yourcodebtor Cdung:Thecr'edltortow youowethedebit
checkausdieduiesthatappiy:
3.1
m 0 scheduie D,iihe
0 schedule E/F.iine
N""‘°°' S'"”‘ 0 Schedule G, line §
3.2
n Schedule D, line
Name ___
n Schedule EIF. line
N"'"°°' S"°°' n Schedule G. line
City, '_ t ., .. _, State _ ,_ lipva
3.3
U Schedule D,|ine______ ,
Name §
n Schedule E/F, line `;
N\"“b°' S"°°* U Schedule G, line

 

 

C"¥ r, /_ _, . .. §'!_":B ., t … _ .. _,Z,lP¢Q¢.§..,, . ,. _. .

 

CaS€ 18-22930-L|\/||

oet»tert \F:l'gi'i€\@m C

Name

RQW&D

LastNm\e

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Case number (rlumnr \g v 9`

gyth

 

 

Column 1: Your codebtor

Column 2:Thecredltortovlnomyouowethedebt

 

 

Number

Street

 

Z.l,P.C°d° .

 

 

Number

Street

 

City

SMP

zlP code

 

 

Number

Street

 

Cltv

State

ZlPCode

 

 

 

i Number

Street

 

Z"’C°d° .

 

Name

 

’i Number

Simet

 

ZlP.C°d°.

 

Sdiet

 

$l!l§

 

 

Number

Street

 

Cltv

ZlPC¢?d.°._. …,

 

 

Number

 

 

Cllv

ZlP Code

Check all schedules that aplle:

Cl Schedule D, line _
Cl Schedule E/F, line ___
El schedule G, line _

Cl Schedule D, line
Cl Schedule E/F. line _
Cl Schedule G, line _

Cl Schedule D, line _
[J Schedule E/F, line _
D Schedule G, line _

[J Schedule D, line _
Cl Schedule E/F, line _
U Schedule G, line _

 

Schedule D, line
Schedule E/Fl line
schedule G, line `_

 

DDD

Schedule D, line y
Schedule E/F, line _
Schedule G, line _

DDU

Schedule D, line
Schedule E/F, line
Schedule G, line

DDU

Schedule D, line
schedule E/F. line `_
Schedule G, line

DUEJ

le°°d¢ …, l

 

 

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mr \‘hne\@i C. l~?owat)
Firet N¢ne Mldde Nsne Last Name
Debtor 2
(Spouse, ltillng) FlntN-he MiddleNune l.ntN-me
united states Bankruptcy court for view§_f_g District of E EOV\§]
t(;"am;hber \$g “ 99qu " l- H: Check if this is:
Cl An amended tiling y
cl A supplement showin` postpetition chapter 13
income as of the foil ng date:
OfiiCiai FOth'l 1061 m
Schedule l: Ytour lnctome terre
Be as complete and accurate as possible. it two man-led people are tiiing together (Debtor 1 and Debtor 2), both are eq lly responsible tor
supplying correct lnformatlon. if you are married and not tillng iolntly, and your spouse ls living with you, include l atlon about your spouse.

lt you are separated and your spouse is not filing with you, do not include information about your spouse. it more spa is needed, attach a
separate sheet to this form. Orii the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1: Deecribe lmployment

 

1. Fill in your employment

 

intormatlon. Debtor 1 Debtor 2 or non-tlling spouse
if you have more than one ]ol>.

attach a se rate e with

interrnetidnq:beut ::gitldnel E"‘P'°¥"'°"" mm `@ Emploved El Employad

employers 0 Not employed m Not empioye d

include part-time, seasonal, cir

seemed wet newman R § b cit<\et\»//i vitiate

Occupation may include student
or homemaker, it it applies.

 

Employel's name _:FCD€` 6 YC(\ C,O\'(€C\_‘ :)VQ\ <:O\M\D\p)<.
Lo\@uxa rs

Employer's address Q C) l <t:’~f)X \ 0 B`_i

Number Street Number Stred

 

 

Ce\e\udu ¥\ asset

SB fe ZlPCode City State ZlPCode
Howlong employed there? mg HL) iA""/\-/;

Part 2; lee details About Month|y lncome

 

Estlmate monthly income atr of the date you file this fom\. lf you have nothing to report for any line, write $0 in the spactl. include your non-filing
spouse unless you are separated.

lf you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
below. lf you need more space. attach a separate sheet to this form.

 

For Debtor 1 For Debtor 2
non-filing s se

z Llst monthly gross wages, salary, and commissions (before all payroll L,`O
deductions). if not paid monthly, calculate what the monthly wage would be. 2. $ \C) ,

 

; 3. Estimate and list monthly overtime pay. 3. +$ 9 '*' $

 

f iC) ‘iQ
‘ 4. Calculate gross income. Attd line 2 + line 3. 4. $___;

 

 

 

 

 

 

 

 

 

 

 

 

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Debtor1 WN£\€`OM C_ Q%AO ,3 Case number (trldtowni \ % ~ B£dq 50 § H LI
d
For Debtor 1 For Debtor 2 of
Copy line 4 here ............................................................................................... ') 4. $ \Q / $
5. List all payroll deductions:
5a. Tax, Medicare, and Sociai Security deductions 5a. $ $
5b. Mandatory contributions for retirement plans 5b. $ $
'5c. Veluntary contributions for retirement plans 5c. $ $
5d. Required repayments of retirement fund loans 5d. $ $ __
56. insurance Se. $ $
5f. Domestlc support obligations 5f. $ $ ___
59. Union dues 59_ $ $ ____
5h. other deductions. Specify: 5h. +$ + $
6. Add the payroll deductions Add lines 5a + 5b + 50 + 5d + 5a +5f + 59 + 5h. 6. $ $
E_O

7. Calculate total monthly take-home pay. Subtract line 6 from line 4. 7.

8. Llst all other income regulsiriy received:

8a.

Net income from renta|| property and from operating a business,
protesslen, or farm

Attach a statement for each property and business showing gross

 

ii
|..

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

13. Do you expect an increase or decrease within the year after you file this fonn?

cl No.

receipts, ordinary and necessary business expenses, and the total s s
monthly net income. 8a. ~'~_-~_~ ~'_
8b. interest and dividends 8b. $ $
Sc. Famlly support payments that you, a non-filing spouse, or a dependent
regularly receive op
include alimony, spousal support, child support, maintenance, divorce $ <Ol__£ 2 ' $ i
settlement and property settlement 8c. ---
8d. Unemployment compensation 8d. $ $
8c. Sociai Security 8c. $ $
8f. Other government assistance that you regularly receive
include cash assistance and the value (if known) of any non-cash assistance
that you receive. such as food stamps (beneits under the Supplementa|
Nutrition Assistance Program) or housing subsidies.
Specify. 8f. $________ $._________
Bg. Pension or retirement income 89. $ $
8h. Other monthly income. Specify: 8h. + $ + $
9. Add all other income. Aidd lines 8a + 8b + 8c + 8d + tie + 8f +89 + 8h. 9. $ v $
` to. calculate monthly income. Add line 7 + line 9. § l 5 0 '~lO + _ s 65@ "l,D
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse. 10. $ $ "
` 11. State all other regular contributions to the expenses that you list in Schedule J.
include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
friends or relatives.
Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
Specify: 11. + $
j 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. 60 _
Write that amount on the Sunlmary of Your Assets and Li'abilities and Cerral'n Statistlcal Infonnatl'on. i'i it applies 12. _Q____'
Comblned
monthly income

 

Bves.lsxpiain: ___ ,'QC§\}@C) § \QL\O GLAQ, C? \`i_Oui“\-\ ”\'\’t`Otindii/t€ci€[§

 

i`i“iA/tewi` GF

 

 

M:I'\)§)y'\(.p

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Check ifthis is:
El An amended lilan
_ _ o m A supplement showing postpetition chapter 13
mmwmmcmwwm£l¢°ewdm emmas°fmefd¢bwing dam
llflmwr\i

Oflicia| Form 106J

Schedule J: Your Expenses we

Beascolrlpletaandaccurats»asposslbie.lltwomaniedpsopieare filing wgether,bothereequelly responsibletorsrpplylngcorrect

lnforrnstlon.llrrlorespeceisnudsd.sttachanodnrsheettod\hiormondlewpdanyaddldonalpsgss,wdhyou nameandcasenumber

(li known).Answerevery questlon.

mmbe¥ourlisusshsld

1. lsthlsa}ointcase?

a No. Gotollne 2.
Cl Yee. empowerzllvelnnep¢m heuulleld?
Cl Ne
Cl Yee. eebwr 2 must se orlleial Form 106.l-2. Expenses for separate Houeeheld eroebrer 2.

2. Doyou have dependents? N° . pm . non nn
DonotiistDebtor1and ClYgs_Fltloutmlginf°¢mau°nr°r Debtorternebtorz age . rrntlyou?
Debtor2 each dependent ..... l, .................... a

No
Donotstatetl'ledependents'
names. o Yes
0 No
n Yes
a No
n Yes
a No
cl Yes
El No

f j 7 *i _m n Yes

3. Doyourexpsnses include m N°
expensesotpeopleottlertlilan
yourself and your dependents? n Y°°

Part 2: Istlrl\atsYoardlngoll\g“onttrlylxpsnsss

Estlmateyourexpensesasol'yourbankruptcyfillngdateunlessyouareuslngthlsfonnasasupplsmentinac 13cesetoreport

sxpsmesadadatsathrdlebanhupwyhhk¢"mhbawppiennmd$chedth,cmckduboxatthetopot formandfllllllths

applicabledate.

lnclude expenses paid forwmll non-cash government assistancrllll you lino\vthevalueof

such assistance and have included lt on Schedule I: Your Irlconle (Ol'llclal Forln 106|.) Y°\lr ¢XP|"“$

4. Therental or home ownership expenses for your residence. include first mortgage payments and
any rentfortheground or loL 4 $_

Ii‘ not included in line 4:

4e. Reel estate taxes

4b. Property, homeowner’lL or renter insurance

4c. Home malntenance, repelr. and upkeep expenses
4¢ Homeowner`s association or condomian dues

.S$.S$

 

 

 

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10.
11.

12.

13.
14.

15.

16.

17.

18.

19.

Flr¢Nane Midde Lastth

. Additlonal mortgage payments for your residence, such as home equity loans

. Utilities:

6a. Electri¢:'ty, heat, natural gas
6h. Water, sewer, garbage collection

6c. Telephone, cell Lone, intemet, satellite, and sable servi 4-
6d. Other. Specify: '+P(`LOV`O.\ TrU ` lf‘\<‘_`> iV\ V n€, 4

. Food and housekeeping supplies

. Chlldcare and children’s education costs

. Clothing, laundry, and dry cleaning

Personai care products and services
Medlcal and dental expenses

Transportation. include gas, maintenance, bus or train fare.
Do not include car payments

Entertainment. ciubs, recrilation, newspapers, magazines, and books

Chalitabie contributions and religious donations

lnsurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.

15a. Life insurance
15b. Health insurance
15c. Vehide insurance

15d. Other insurance Specify:

Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify:

 

installment or lease payme:nts:
17a. Car payments for Vehicie 1
17b. Car payments for Vehicle 2
17a Other. Specify:
17d. Other. Specify:

Casenumber(llmn) `X ' S~BO’BO° H 1/:

10.
11.

12.
13.
14.

15a.
15b.
15c.
15d.

16.

17a.
17b.
17c.

17d.

Your payments of alimony,, malntenance, and support that you did not report as deducted from

your pay on line 5, Schedule I, Your Income (Ol'licial Form 106|).

Other pa ents you make to upport others who do n t live with you.
spedry: Q§‘\Q§ § . §§Y \ Zy\\_¢g C>Q€$ ,§G\O |C‘S

18.

19.

Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

20a. Mortgages on other property

20b. Real estate taxes

200. Property, homeowners or renter‘s insurance
20d. Maintenance, repair, and upkeep expenses

209. Homeowner‘s association or condominium dues

Your expenses

 

 

 

 

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Dem°n \F.`iNG=r:-ipbwademg' LEN.QMMG Case number(llmewnL `X ‘ B§'B`q 50 ‘ \` Hj:_
21. Other. Specify: 21. +$

 

22. Calcuiate your monthly expenses.

6"
.r:-
O

i

22a. Add lines 4 through 21. 22a. 5

22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Ofticial Form 106J-2 22b.

Qb
220. Add line 22a and 22b. The result is your monthly expenses 22a. 5 §'2 ij( 2 "

 

 

 

 

23. Caicuiate your monthly net income.

 

 

 

C<D '
23a. Copy line 12 (your combined monthly income) from Schedule l. 23a. $--- L§O q 0
23b. Copy your monthly expenses from line 22c above. 23b. _ 5 (O 50
230. Subtract your monthly expenses from your monthly income. l C') il Q
The result is your monthly net income. 23¢:. s

 

 

 

24. Do you expect an increase o»r decrease in your expenses within the year after you tile this form?

For example, do you expect tc» finish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a modiiication to the terms of your mortgage?

UNO. w …._ , , ,,. . , v ,. , , ., ,` _. §
a Yes. § Expiain here: li mcle W\OA\V’\K¢ go F*a@f_\ §:V\OV,/\ W»q (_`OWV“§V
bui- ~\»i/\ovt <;w/\ CV\OL\/\j€ ~Li/\Ol»€ t`§ ng goalwaqu

§ q,\/u€q W CO,/,_},,,/'\UQ Pvc)vi`c/\lf`\§ \\»*v\\'s O\S§¢§_§§OW)C~Q_ §

 

 

 

 

 

 

 

 

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MH m ii.;< …i<)lm;itmn m identify your L;i:»»»’

we /

 

 

 

 

 

Debtor1 HO.F\ 9 0 s

Fll€meme team
Debtor 2
(Spouse. il liling) Flm Name ua line
unmd estes Benl¢mprey ceun rem$i)“‘\€t'! Disirict ot"\` SO\‘ \@ \
Casenumber \g' B<}q 50 " H Lf
(ll known)

n Check if this is an
amended tiling

 

Ofticial Form 106Dec
oeelaratlen About an lndlvldual centers scheduled m

if two married people are filing together, both are equally responsible for supplying correct lnl'ormatlon.

 

 

You must file this form whenever you file bankruptcy schedules or amended schedules. Maklng a false statement, concealing property, or
obtaining money or property lly fraud in connection with a bankruptcy case can result in lines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

 

§
§
§
§

-"""""“w

Did you pay or agree to pay someone who is NOT an attorney to help you till out bankruptcy forms?

a No
n Yes. Name of person . Attach Bankruptcy Petr'tl'on Preparer’s Notl'ce, aratr'on, and
signature (olllelel Fenn 119).

Under penalty of perjury, i declare that i have read the summary and schedules filed with this declaration and

 

 

thattheyaretrue and con'e»ct.
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X raw X
sig tureeroebwn' slgnemleeroebielz
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c,.,..,)0 'l§- §oii uaw §
wl DD I YYYV MMI DDI YYYV §

 

 

 

 

nmfin Fnrm 1{\Rnor\ nar-bratton Ahnlll' nn lndlvldrml nohl»nr's Rrh¢ulula\¢ §

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.r

Fil| in this information to identify your case:

   
       

v

~" `:ebrori 0 i'l'? Q C. ¢WGD

Fl!i Name M`ldd|e Name Last Name

Debtor 2
(Spouse. if liiing) Flm Name Middle Name Last Name

,-~,
United Siales Bankruptcy Courl for tham ug m Dislrict of:F‘§ }Fc; d z
Case number \% - S'B`Cl §§ " H `-_I.~

(irl<newn) cl Check if this is an
amended filing

 

 

 

Official Form 107
Statement of Financial Affairs for individuals Filing for Bankruptcy ome

Be as complete and accurate as pclssible. if two married people are filing together, both are equally responsible for supplying correct
intormation. if more space is needed, attach a separate sheet to this torm. On the top ot any additional pages, write your name a nd case
number (if known). Answer every c|uestion.

m Give Details About Your Marital Status and Where You Lived Before

 

 

` 1. What is your current marital status?

 

Married
n Not married

§ 2. During the last 3 years, have you lived anywhere other than where you live now?

DNo

w Yes. List all of the places yc»u lived in the last 3 years. Do not include where you live now.

Debtor 1: Dates-Debtor 1 Debtor 21 § ates Debtor 2
lived there lived there

§ n Same as Debtor 1 m Same as Debtor 1
£.
§ §ngCD Sts%u \ DL\ PL Fromc`§`a'OO~l N b St t From
um er ree To `; § \6 um er ree To

H;ev\i‘i §Fl seize

 

 

 

 

 

 

 

 

 

 

 

City State ZlP Code City State ZlP Code
cl Same as Debtor 1 E] Same as Debtor 1
From From
Number Street Number Street
To To
City State ZlP Code City State ZlP Code

, 3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, Ca|ifornia, ldaho, Louisiana_ Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

n No §
n Yes. Make sure you till out Schedule H.' Your Codebtors (Ofncial Form 106H).

 

Explain the Sourcel; of Your income

Offlcia| Form 107 Statement of Financial Alfairs for individuals Filing for Bankruptcy page 1

\/§

 

 

CaS€ 18-22930-L|\/||

wm \'lorie\o C gode

Fi'!t m MMe Name Llst Nm

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Casenumbertilhmm) \8 ’ S‘B‘qa) ‘ \- M:

 

4. Did you have any income tirom employment or from operating a business during this year or the two previous ca
Fill in the total amount of income you received from all jobs and all businesses, including part-lime activities.
lf you are filing a joint case and you have income that you receive together, list lt only once under Debtor 1.

cl No
N Yes. Fili in the details

 

Souroes of|ncome
Checkallthatepply.

From January 1 of current year until
the date you filed for bankruptcy:

bonuses. tips

Souroeeofincome

Grossinoome

(before deductions and Check di that eppiy.
exduslons)

,, . `<zo . .

l Weges, commissions, s 30 n Wagee, commissions.

bonuses tips

n Operallng a business

m Wages. commissions,

For last calendar year: bonuses' ups

s ]q'<§@;n

n Operatlng a business

n Wages, commissions
bonusee, tips

a Operating a business

(Janua'y 1 to D€Cembe|’ 3113_<)_!3_) g Operating a business
YYYY

For the calendar year before that:
(January1 to Deoember 31, 30\ (O)

YYYY

m Wages, commissions,
bonuses, tips

g Operating a business

Qil>

s car

cl nges. commissions
bonuses, tips

n Operating a business

5. Did you receive any other income during this year or the two previous calendar years?

include income regardless of whether that income is taxable. Examples of other income are allmony; child support; Sociai

 

ieVdar years?

 
   

(before deductions and
exduslons)

`ecurity,

unemployment and other public benefit payments; pensions; rental income; interest dividends; money collected from laws its; royalties; and
gambling and lottery winnings lf you are lillng a joint case and you have income that you received together, list it only once under Debtor 1.

List each source and the gross income from each source separately. Do not include income that you listed in line 4.

n No
El Yes. Fili in the details

 

Sourcseoflncome

Grosslnoomefmm

 

 

 

 

 

 

Sourees of income
Describe beiow. °°°" mm Describe below.
(before deductions end
exciusione)
From January 1 of current year until
the date you filed for lbankruptcy:
For last calendar year: 5
(January 1 to Decembelr 31, ) $
YYYY
$
For the calendar year before that:
(January 1 to Decembe»r 31, ) $
YYYY $

 

thcial Form 107

 

Statement of Flnanclal Afiairs for individuals Filing for Bankruptcy

 

Grosslncomefmm
eachsource
(beloredeductionsend
exclusions)

page 2

 

 

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Debtor1 \n;§"‘:\€h C\ %MQ;) Casenumber(rlm) \%, qu 30 .- HL:

Mhiderlami Lale|\e

 

Part 3: Llstce¢hin?aylments¥eu|ladebofon¥ouniedfor!aniuuptcy

 

6. Are either Debtor 1's or Debtor 2’s debts primarily consumer debts?

n No. Neither Debtor 1 nlor Debtor 2 has primarily consqu debts. Consumer debts are defined in 11 U.S.C. § 101 (8) as
'incurred by an individual primarily for a personal, family, or household purpose.'

During the 90 days before you died for bankruptcy. did you pay any creditor a total of $6,425' or more?

cl No. Go to line 7.

n Yes. List below each creditor to whom you paid a total of $6.425' or more in one or more payments and the
total amount you paid that creditor. Do not include payments for domestic support obligations, such as
child support and alimony. Aiso, do not include payments to an attorney for this bankruptcy case.

' Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment

Yes. Debtor 1 or Debtolr 2 or both have primarily consumer debts.
During the 90 days before you tiled for bankruptcy, did you pay any creditor a total of $600 or more?

No. Go to line 7.
cl Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that

creditor. Do not include payments for domestic support obligations, such as child support and
alimony. Also, do not include payments to an attorney for this bankruptcy case.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

bates of Totai amount paid Amount you still owe Wss this payment ior...
payment
$ $ hmw `
Creditor's Name n
n Car
Number steel Cl credit card
n Loan repayment
Cl suppliers or vendors
city state zlP code n °"‘°'
$ $ n Mortsage
Credtofe Name
n Car
Number street n C'°d“ °a'd
n Loar\ repayment
n Suppiiers or vendors
clty slate zlP code n :
$ $ n Moftgage
Creditors Name
El car
Number steel El credit card
n Loan repayment
cl Suppilers or vendors
clty state zlP code n :h

 

Ofticial Form 107 Statement of Financial Afi‘airs for individuals Filing for Bankruptcy page 3

 

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ma HQV§P\Q C. €0\10\&;3 Casenumbww) ig l. gao 50 ~_ L eli

F`l~st Name Midde iiune LaetNane

 

Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a l partner;
corporations of which you are an ofiicer, director, person in control, or owner of 20% or more of their voting securities; and ny managing

agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. include payments for domestic support obligations,
such as child support and alimony.

mNo

n Yes. Llst all payments to an insider.

7. Within 1 year before you filled for bankn.lptcy. did you make a payment on a debt you owed anyone who was an in%ider?

Datesof Totaiamount Amountyouadii Raasonforthiapayment

 

 

 

 

 

 

payment paid owe
$ $
insiders Name
Number street
City State zlP code
$ $
insider Name

 

Number Street

 

 

City State Z|F Cotb

8. Within 1 year before you filled for bankn.lptcy. did you make any payments or transfer any property on account ofa` debt that benefited
an insidel?

include payments on debts guaranteed or coslgned by an insider.

ENo

n Yes. List all payments that beneited an insider.

 

Datesof Totai amount

 

 

 

 

 

 

 

insiders Name s
Number street §
l
l
City Slala ZlP Coth
$ $
lnsider's Name

 

Number Street

 

 

City State Z|P Co¢h

Ofticial Form 107 Statement of Financial Afiairs for individuals Filing for Bankn.lptcy l page 4

 

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Fili m m Name

 

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9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit. court action, or administrative proceeding?
List ali such matters. including personal injury cases, small claims actions, divorces, collection suiis, paternity actions, support or custody modificationsl
and contract disputes.

cl No
8 ves. Fili in me details
Naturo of the case Status of the case

ira _~.. `
Case\me ii § (\__X;__ i:€ér> rq\ §c°\§_;'r€ gioie<,'b»sir-v\ (_~\. (OU\.+;

P¢V\ b`i%i\'§r~\' OF‘¥~'\ r’ng Pend,ng

 

 

 

 

 

 

 

 

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izO\MO 0 D;s,ir.(~\- Co\)i“i*§ igng it ;\SJGSE n °"°°°°°'
sww@r»ii)s>rr»'cr ~"'"~' S'~°' _ a °°"°““’°"
Casenumber \:S"<X HK§E'C OT § OV\C)Q H\QM°{ F\ 55\5`<2
CQ>€ a OS€d city state ziPcods
caseririe ________ counme n P°"°‘"°
cl Onappeai
Number arrch Cl Conduded
Case number city sm z‘pc°de

10. Within 1 year before you hiied for bankruptcy, was any of your property repossessed, foreclosed, gamished. attached, seized, or levied?
Check all that apply and fill in the details beiow.

ii No. Gotoiine11.
B Yes. Fili in me information below.

 

 

 

Describathoproporiy Vaiue ofthe property
'\% io: w
§;\.emc;r Q>vierra\ra sewer "OV:MEM§:§:; C:°;`:Sv:‘::\o@§\<r\ §§Q_gz;
(>.O. wit (9596© °i' mci wi,§\cc%?é ig @FW\ e$Zi `
~..r.rr,.r sr..r M\L Mcrw\\ f\af\<i@r

Cl Property was repossessed.
n Property was foreclosed i
\

Cl Property was amished.
M C\ gt§l?\\&’€fc] gp,openy was ;wchrad, seized, or ievied.

 

 

 

 

 

 

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ie:m'»\i U\)@?`>‘i C\A€§i?°i’ QKE@'S@\'<\¢ Ci§ CIW\\ eab/gp
Explainwm¢h¢pp¢md
S`)i‘\~& \O?> cl Propertywasrepossessed.

 

MMG®V\ 502 Pp` `qO,l?>El Propenywasforeeiosed.

State ziP code n properly Was gamished_
n property was attach°d' Seized. or |evied.

 

Ofticial Form 107 Statement of Financial Afl'airs for individuals Filing for Bankruptcy page 5

 

 

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ebtor 1 er PQ\

Case number iilknwni \S§ ' zzq 36

- HL‘I

 

Fvsl Name Midde Name Lasi Name

fn

muenth Legal Actioins, Repossessions, and Foreclosures

_g 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuitl court actionl or administrative proceeding?

List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or cus

and contract disputes.

n No
Cl Yes. Fili in the details

Nature of the case

Court or agency

 

 

 

 

 

 

 

 

 

 

 

Case title Courl Name m
Number Street n
Case number
City State ZlP Code
Case title Courl Name m
Number Street n
Case number
City State ZlP Code

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized

Check all that apply and fill in the details below.

a No. Go to line11.
Cl Yes. i=iii in the information beiow.

Descrlbe the property

K)S l’;qii\< l\)cA-io\m\ &5\'

Pissocio¥\.oi/\ di ai

Creditor's Name

LiBS K)Oot\“r\ui %+

 

Explain what happened

 

 

 

 

ody modihcations,

Status of the case

Pending
On appeal

Concluded

Pending
On appeal
Concluded

, or |evied?

 

   

 

 

 

 

 

 

Number Street
n Property was repossessed.
n Property was foreclosed.
n Pro ert was arnished.
Ci\nc\ Noo‘i~? 0\¢\ L\€>Aogu " y g
city stare zlP code DProperly was attached seized or levied
Describe the property Date Value ofthe property
!.,,um.. _ _ z
§ z
§ § $
Creditor's Name § v
l __ z
Number Street
Explain what happened
0 Property was repossessed.
0 Property was loreclosed.
\ _ 0 Property was garnished.
\_M city siaie zlP code 0

Property was attached, seized, or levied.

thcial Form 107 Statement of Financial Affairs for lndividuals Filing for Bankruptcy

page 5

 

 

 

 

 

 

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Mi“o hhm¢

Debtor1 \;`%N)mij€\ %)N\.tk&|\) Case number tirimowni ` g ' 9

 

 

BQ?>O' HLI

 

 

 

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to mak»s a payment because you owed a debt?
o No
£J Yes. i=iii in the detaiis.
Descrlbetheactionthecreditortook Datsaction Amount
was taken

Creditors Name

Number Street s

city State ZiF Code Last 4 digits of account number. XXXX-

12. Within 1 year before you filled for bankruptcy, was any of your property ln the possession of an assignee for the benefit of

creditors, a court-appointed reoeiver, a custodian, or another official?

il No
cl Yes

Part 5: Llst certain GIi'vt and ¢onfrlbutlons

13.Withln 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

a No
El Yes. Fiti in the details for each gift.

 

 

 

 

 

 

 

 

 

Gii‘iswithatotalva|ueofmonthan$wo Doscrlbathegilts Datssyou Vaiue
perponon WI"N l
. § $
Peisontowhorn¥ouGavetheGlfi 1
` s
Number Street
city sma ztiode
Person's relationship to you
Gii‘iswithawtalvaiueofnnorathan$diio Doscribothegifh Dahsyougam Vaiue
women . , t wealth
$
Persontowhom¥ouGaveiheGifi
$

 

 

 

Number Street

 

City State Z|F Code

Person’s relationship in you

Ofticial Form 107 Statemont of Financial Affairs for individuals Filing for Bankruptcy

 

page 6

 

 

 

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W, Har;eie C game Casenum,(,m, \<g»e;zq 50- ittl

FHIt Name m Name

 

14.Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

s No
n Yes. Fiii in the details for each gift or contribution

 

 

 

 

 

 

Gli'ts or contributions to charities Descrlbe what you contribubd Date you Vaiue
that total more than $600» contributed
' $
Charity's Name §
$
Number Sireei
city State ziP code

m Llst¢ertalnLoeisas

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of thch fire, other
disaster, or gambling?

a No
Ei Yes. Fiii in the dataiis.

Describe the property you lost and Descrlbe any insurmce coverage fertile loss Date of your Vaiue of property
loss ioet

howtheiossocc n'ed
u lndudeiheamountihat'msuranoehaspald. Listpending insurance
daimsoniine$$oi$chedweA/B: Property

 

Part 7: Llstcertiain PaylinanteorTransfers l

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any proderty to anyone
you consulted about seeking bankruptcy or preparing a bankruptcy petition?
include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy
m No
El Yes. Fiii in the dataiis.

 

 

 

 

 

 

 

 

Descriptlonandvaiueol'anypropertytransfen'ed Detepaymentor Amountofpayment
transfer was
PersonWhoWesPeid . ,, . , … ,, mm
Number Street $
$
city Suite ZlP Code
Emaii or webdte address

 

 

Person Who Made the Payment, lf Not You § ‘

 

 

Ofticial Form 107 Statement of Financial Aifairs for individuals Filing for Bankruptcy : page 7

 

 

CaS€ 18-22930-L|\/||

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Fh¢` N~r\e Mldde Name Last Name
Pereon Who Waa Paid
Number Street
City State ZlP Code
Emal ol' website address

 

 

PersonWhoMedemePeyrnein,HNotYou

promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

o No
El Yes. Fili in ma details

Descriptlonandvaiueofanypropertytransferred

 

Pereon Who Was Paid

 

Numdeer

 

 

 

City State ZlP Code

transferred in the ordinary course of your business or financial affairs?

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Casenumber(riamn) \%' BDCI 36 ' H\`:

 

transfer was

made

Date or Amount of

11. Within 1 year before you filled for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who

Detepeylnenior Arnountofpayment
transferwas

$

 

18. Within 2 years before you filed for bankruptcy, did you seil, trade, or otherwise transfer any property to anyone. other than property

include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).

Do not include gifts and transfers that you have already listed on this swtement.
n No
El Yes. Fili in the details.

Descrlption and value of property
transfen'ed

 

Person Who Recelved Transfet'

 

Number Sileet

 

 

 

 

 

 

City Stilie ZlP Code
Pemon’s relationship to you
Person Who Recelved Transfel'
Number Street
City Siilte ZlP Code
Person's relationship to you
Ofticial Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy

Descrlbe any property or payments received Date transfer
or debts paid in exchange

was made

 

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19.Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar devici

are a beneficiary? (These tire often called asset-protection devices.)

BNo

E] Yes. Fili in the datails.

 

Case number tremont \K .- B:

§Q§O-H\.I

a of which you

 

 

Descrlption and value of the property transferred Date transfer
Name of trust
Part 8: Ust¢¢ednhnuieHAooolmb,laeh-nents,ldebepodtlexee,.\dleorageudh
20. Within 1 year before you filled for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,

closed, soid, moved, or transferred?

include checking, savings, money market, or other financial accounts; certificates of deposlt; shares in banks, c
brokerage houses, pension funds, cooperatives, associations, and other financial institutions.

a No

Cl vas. Fili in tha details

 

 

 

 

 

 

 

 

Last4dlgitsofeccountnumber Typeofeccountor beteeccount
or transferred
Name or Financial institution
Xxxx-____ ___ _ ___ Cl checking
Number sum n s*"'"¥*
n Money market
a Brokerage
city stats zlP code n own
XXxX-___ ___ ___ _ Cl checking
N¢rn¢ or Financial instimtien
Cl savings
Number street a loney market
a Brokerage
a Other
city smc zlP code

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other de
securities, cash, or other valuables?
m No
i'.'| Yes. Fili in the dataila.

 

 

 

 

 

 

 

 

Whoelsehadeccesstoit? Descrlbethecontente
Name of Financial institution mm
N“"'b°' am Number shut
city sav ziP code
city state zlP code

Ofticial Form 107 Statement of Financial Affalrs for individuals Filing for Bankruptcy

 

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n No
n Yes

Page9

 

 

 

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Debtor1 F\\‘br`€ig C' %MG 0 Case number 01th \Z ‘ B':Bol 50 _ H`-»’I`

Mldde Name

 

22.Have you stored property iri a storage unit or place other than your home within 1 year before you filed for bankruptt:y?
m No

El Yes. Fili in the details

 

Whoeleehasorhadawesstolt? Describeihecontente Doyeustiil
, , mm
' DNo
ilameefSterageFaciilty Name 1 ny”
Number Street Number Street

 

 

CIlyStlte ZlP Code

 

city aim ziP cna

Part9: ldentlyhepe\rty¥oullelder¢ol\tlel|erlelleenellee

 

 

23. Do you hold or control any property that someone else owns? include any property you borrowed from, are storing for,
or hold ln trust for someorie.

m No
El ves. Fili in the detaiis.

 

 

 

 

 

 

Where is the property? Descrlbe the property Vaiue
owners Name ; s
Number Street
Number street
city stats zlP code
city aim zlP code

 

 

 

Part 10: .I”D¢\¢Ibllboll¢lllvmlm

 

For the purpose of Part 10, the following definitions apply:

a Environmentai law means any federai, state. or local statute or regulation concerning poiiutlon, contamination, releases of
hazardous or toxic substai'ices, wastes, or material into tfie air, land, soil, surface water, groundwater, or other medium,
including statutes or regulations controlling the cleanup of these substances, wastes, or material.

l Slte means any location, facility. or property as defined under any environmental law, whether you now own, operate, or
utilize it or used to ownl operate, or utilize it, including disposal sites.

l Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, tolls
substance, hazardous materiai, pollutant, contaminant, or similar term.

Report ali notices, reieases, and proceedings that you know about, regardless of when they occurred.
24. lies any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

a No
El Yes. Fili in the detaiis.

 

 

 

Govemmentaiunit _rEnvirenmentaiiaw,lfyouknowit 7 q _"Dateofnotice
Nameofelte Govemmentd unit
Number Street Number Street

City State ZPCode

 

 

City State ZlPCode

 

Ofiiciai Form 107 Statement of Financial Affalrs for individuals Filing for Bankruptcy page 10

 

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Debtor1 F`i:(ii?nerip\& C` %)NWG‘D Case numbertrmowni \2 ‘ azz`q 36 ~ X-HI

Millne

25. Have you notified any goviimmental unit of any release of hazardous materiai?

a No
Cl Yee. Fiii in the detaiis.

 

 

 

 

Govemmentalunlt Environmenteliaw,lfyouknowlt Dateofnotioe
Name el site Gevemmentai unit
Number Street Number Street
city stein zii= code

 

§ City Eitate Zl' Code

26. Have you been a party in amy judicial or administrative proceeding under any environmental iaw? include settlements and orders.

a No
Cl Yes. Fili in the detaiie.

 

 

 

 

 

Courtoragency Natureofthecase m°"h°
case
Case title n
comm Pendlng
n On appeal
manner street n Conciuded
Case number cay w ap c°d.

 

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27. Within 4 years before you filed for bankruptcy, did you own a business or have any of tfie following connections to any business?
n A sole proprietor cr self-employed in a trade, profession, or other activity, either full-time or part-time
n A member of a limited liability company (LLC) or limited liability partnership (LLP)
n A partner in a partnership

n An officer, director, or managing executive of a corporation
a An owner of at least 5% of the voting or equity securities of a corporation

B No. None or the above eppiiee. co to Part 12.
n Yes. Check ali that apply above and fill in tlie details below for each business.

 

 

 

 

 

 

 

 

 

 

 

 

 

Descrlbe the nature ofthe business Empioyer ldentifi number
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EiN: _______-_`_________._.___..___
Nameofaccountantorbookkeeper Datesbuslness exie
From o
city th ZlPCode v , . f , . , ., 1
Descrlbethenatureofthe business Employeridentlfi number
mms-mm- r z Donotlnclude }Securltynumberormk.
ElN _______-_____________
Number street ' ' ‘ ` ' ' ’ ' " ‘ l
Nameofaccountantorbookkeeper Dateebueinees exie+d
From To
city state ziPcede

Ofticial Form 107 Statement of Financial Affalrs for individuals Filing for Bankruptcy page 11

 

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Donotlnciude$ocial$ecuritynumberormfl.

 

 

 

 

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From To
city stein ziPcooe

 

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? include ali financial
institutions, creditors, or other parties.

m No
El Yee. Fili in the details freiow.

Date issued

 

Nam miron/mv

 

Number Street

 

 

City !itate HP Code

mw

i have read the answers on this Statement of Flnanclal Affalrs and any attachments, and i declare under penalty of perjury that the
answers are true and correct l understand that making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankniptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

18 U.S.C.§§152, 1341, 1 519, and 3571.

reject ama »

 

 

re of Debtor 1 Signature of Debtor 2
.,.,, ic)- \0» JC»\S n...
Did you attach additional pages to Your Statement of Flnanclal Affalrs for Indlvlduals Filing for Bankruptcy (Officlal Form 107)?
n No
n Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

BNo

cl Yes. Name of person . Attach the Bankruptcy Petiti’on Preparer's Notice,
Declalation, and Signature (Ofliciai Form 119).

 

 

 

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